Case 2:16-cv-07916-AG-SS Document 165-1 Filed 11/20/17 Page 1 of 97 Page ID #:4405




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  Case 2:16-cv-07916-AG-SS Document 165-1 Filed 11/20/17 Page 2 of 97 Page ID #:4406
                                           Ruttenberg IP Law
                                           A Professional Corporation
                                       1801 Century Park East, Suite 1920
                                            Los Angeles, CA 90067
                                               EIN #
                                                (310) 627-2270

Invoice submitted to:
Drop Stop LLC
Jeffrey Simon, Co-President




November 10, 2016

Invoice #           10292
Firm Matter No.:    1128-100        Patent Infringment & Trademark


            Professional Services

                                                                            Hrs/Rate     Amount

  9/2/2016 BM      A103                                                        0.90       328.50
                                                                             365.00/hr



            GR     A103                                                        0.20       115.00
                                                                             575.00/hr

  9/6/2016 GR      A106                                                        0.30       172.50
                                                                             575.00/hr

  9/7/2016 BM      A106                                                        0.80       292.00
                                                                             365.00/hr




            JL     A103                                                        0.40        46.00
                                                                             115.00/hr

 9/12/2016 BM      A103                                                        0.40    NO CHARGE
                                                                             365.00/hr


 9/14/2016 BM      A106                                                        0.10        36.50
                                                                             365.00/hr

 9/16/2016 JL      A103                                                        0.20        23.00
                                                                             115.00/hr

            GR     A103                                                        0.50       287.50
                                                                             575.00/hr
   Case 2:16-cv-07916-AG-SS Document 165-1 Filed 11/20/17 Page 3 of 97 Page ID #:4407



Drop Stop LLC                                                                                        Page   2


                                                                                        Hrs/Rate      Amount

  9/19/2016 BM   A103   Further prepare draft Complaint for patent infringement            1.20        438.00
                        against Also Popular/Zake USA; review relevant                   365.00/hr
                        correspondence between Drop Stop and Also Popular.

  9/20/2016 BM   A103   Further prepare draft Complaint for patent infringement            6.50      2,372.50
                        against Zake International, Inc. and related defendants;         365.00/hr
                        further review and analyze claims of '291 patent, accused
                        products sold on amazon.com, corporate backgrounds of
                        accused companies, background information and
                        correspondence relating to Drop Stop's business, and other
                        issues; confer re infringing products on Amazon with J. Lee.

  9/21/2016 BM   A103   Review and revise Plaintiff's Complaint for patent                 4.50      1,642.50
                        infringement against Zake/Also Popular and ChiTronic;            365.00/hr
                        conduct research re
                                                                                                       x0.5
                                                                           ; confer
                        with G. Ruttenberg re same; conduct investigation re
                        additional defendants and infringing products; confer re same
                        with G. Ruttenberg and J. Lee;




           JL    A103   Review and revise draft Complaint; confer with B. Madanat re       6.00        690.00
                        same; prepare                                                    115.00/hr
                                                  ; confer with G. Ruttenberg re



           GR    A103   Revise draft Complaint against Also Popular, and confer with       1.50        862.50
                        B. Madanat re same; analyze                                      575.00/hr




  9/22/2016 JL   A103   Revise t                                                           2.00        230.00
                                                                                         115.00/hr
                                                   .

           GR    A104                                                                      0.40        230.00
                                                                                         575.00/hr

  9/25/2016 GR   A102   Further emails with clients and Amazon re various infringers;      4.00      2,300.00
                        revise Complaint; research                                       575.00/hr
                                .

  9/26/2016 BM   A103   Review and revise draft Complaint for patent infringement,         1.50        547.50
                        including review                                                 365.00/hr
   Case 2:16-cv-07916-AG-SS Document 165-1 Filed 11/20/17 Page 4 of 97 Page ID #:4408



Drop Stop LLC                                                                                            Page    3


                                                                                        Hrs/Rate           Amount


                                                                             .

  9/26/2016 GR      A103                                                                      0.50         287.50
                                                                                            575.00/hr

           JL       A103    Further review and revise draft Complaint; confer with B.         1.60         184.00
                            Madanat and G. Ruttenberg re same;                              115.00/hr



                For professional services rendered                                           33.50      $11,085.50

           Additional Charges :

  9/30/2016 JL      Online Research - September 2016; Westlaw                                                 3.46

           JL       Photocopies of case related documents - September 2016                                    3.50

           JL       Court Fees to download case related documents - September 2016; Pacer                   31.60

                Total additional charges                                                                   $38.56


                Total amount of this bill                                                               $11,124.06
  Case 2:16-cv-07916-AG-SS Document 165-1 Filed 11/20/17 Page 5 of 97 Page ID #:4409
                                               Ruttenberg IP Law
                                               A Professional Corporation
                                           1801 Century Park East, Suite 1920
                                                Los Angeles, CA 90067
                                                   EIN #
                                                    (310) 627-2270

Invoice submitted to:
Drop Stop LLC
Jeffrey Simon, Co-President




November 11, 2016

Invoice #           10293
Firm Matter No.:    1128-100           Patent Infringment & Trademark


            Professional Services

                                                                                      Hrs/Rate     Amount

 10/5/2016 GR      A106     Follow-up with clients re                                    0.20    NO CHARGE
                                                                                       575.00/hr

 10/6/2016 JL      A110                                                                  0.80    NO CHARGE
                                                                                       115.00/hr



10/11/2016 BM      A106                                                                  0.10    NO CHARGE
                                                                                       365.00/hr


10/13/2016 BM      A103                                                                  0.90       328.50
                                                                                       365.00/hr


            GR     A104                                                                  0.80       460.00
                                                                                       575.00/hr

10/17/2016 BM      A106                                                                  0.90       328.50
                                                                                       365.00/hr




10/20/2016 BM      A104     Correspond with J. Simon and M. Newburger re                 0.30       109.50
                                          ; review                                     365.00/hr



            WS     A103     Revise exhibits and documents to be filed in support of      1.10       214.50
                            Complaint per B. Madanat.                                  195.00/hr
   Case 2:16-cv-07916-AG-SS Document 165-1 Filed 11/20/17 Page 6 of 97 Page ID #:4410



Drop Stop LLC                                                                                            Page    2


                                                                                            Hrs/Rate      Amount

 10/24/2016 BM      A103   Review and finalize Complaint for patent infringement;              0.50        182.50
                           correspond with clients re                                  ;     365.00/hr
                           confer re same with G. Ruttenberg.

           WS       A103   Finalize, file and serve Complaint and documents to be filed        1.80        351.00
                           in support of same.                                               195.00/hr

 10/25/2016 BM      A105   Confer with G. Ruttenberg re                                        0.20         73.00
                                                                                             365.00/hr


           WS       A102   Assist G. Ruttenberg review and research                            1.70        331.50
                                                                                             195.00/hr
                               e; confer with process servers re same.

           GR       A104   Analyze service locations.                                          0.30    NO CHARGE
                                                                                             575.00/hr

 10/26/2016 BM      A104   Review correspondence between G. Ruttenberg and                     0.50    NO CHARGE
                           opposing counsel Lydia Lim; review and revise draft joint         365.00/hr
                           stipulation and proposed order re waiving service on
                           Defendants and stipulation to commence third-party
                           discovery; confer re same with W. Stevens and G.
                           Ruttenberg.

           WS       A102   Confer with process servers re status of service of Summons         1.50        292.50
                           and Complaint; draft stipulation re service per G. Ruttenberg.    195.00/hr

           GR       A103   Various telephone conferences with Defendants' counsel (L.          2.00       1,150.00
                           Lim) re waiving service, settlement discussions and               575.00/hr
                           stipulation to start discovery; confer with team members and
                           clients re same; prepare draft stipulation re same.

 10/28/2016 JL      A103   Conduct research re                                                 2.10        241.50
                                                                               for           115.00/hr
                           Amazon subpoena.

           GR       A104   Further email and telephone conferences with L. Lim                 1.80       1,035.00
                           (Defendants' counsel) re changes to stipulation and proposed      575.00/hr
                           order; analyze subpoena to Amazon, and confer with team
                           members re same.

 10/31/2016 JL      A103   Conduct further research re                                         1.20        138.00
                                                                                             115.00/hr
                                 for Amazon subpoena.

                For professional services rendered                                            18.70      $5,236.00
   Case 2:16-cv-07916-AG-SS Document 165-1 Filed 11/20/17 Page 7 of 97 Page ID #:4411



Drop Stop LLC                                                                                               Page    3


           Additional Charges :

                                                                                                             Amount

 10/24/2016 JL      Court Fee for filing Complaint - US District Court (Central District) in Los Angeles,     400.00
                    CA; Pay.gov, Tracking ID 25UKQ24F

 10/26/2016 JL      Attorney Service Fee to Serve Summons & Complaint to Jian Qing "Johnny" Zhu in            470.22
                    Granger, IN; First Legal Network LLC, Invoice No. 10063897

           JL       Attorney Service Fee to Serve Summons & Complaint to Jian Qing "Johnny" Zhu in            322.35
                    South Bend, IN; First Legal Network LLC, Invoice No. 10063897

           JL       Attorney Service Fee to Serve Summons & Complaint to Jian Qing "Johnny" Zhu in            219.88
                    City of Industry, CA; First Legal Network LLC, Invoice No. 10063897

           JL       Attorney Service Fee to Serve Summons & Complaint to Shenzhen Zhouwu                      147.87
                    Technology Co., Ltd. in Granger, IN; First Legal Network LLC, Invoice No. 10063897

           JL       Attorney Service Fee to Serve Summons & Complaint to Shenzhen Zhouwu                       40.25
                    Technology Co., Ltd. in City of Industry, CA; First Legal Network LLC, Invoice No.
                    10063897

           JL       Attorney Service Fee to Serve Summons & Complaint to Shenzhen Zhouwu                      147.87
                    Technology Co., Ltd. in South Bend, IN; First Legal Network LLC, Invoice No.
                    10063897

 10/31/2016 JL      Photocopies of case related documents - October 2016                                         0.60

                Total additional charges                                                                    $1,749.04


                Total amount of this bill                                                                   $6,985.04
   Case 2:16-cv-07916-AG-SS Document 165-1 Filed 11/20/17 Page 8 of 97 Page ID #:4412



Drop Stop LLC                                                                  Page     4
  Case 2:16-cv-07916-AG-SS Document 165-1 Filed 11/20/17 Page 9 of 97 Page ID #:4413
                                              Ruttenberg IP Law
                                              A Professional Corporation
                                          1801 Century Park East, Suite 1920
                                               Los Angeles, CA 90067
                                                  EIN #
                                                   (310) 627-2270

Invoice submitted to:
Drop Stop LLC
Jeffrey Simon, Co-President




January 24, 2017

Invoice #          10305
Firm Matter No.:   1128-100           Patent Infringment & Trademark


            Professional Services

                                                                                           Hrs/Rate     Amount

 11/1/2016 JL      A103    Conduct further research re                                        0.60       69.00
                                                                                            115.00/hr
                                 for Amazon subpoena;


 11/2/2016 JL      A103    Conduct further research re                                        0.60       69.00
                                                                                            115.00/hr
                                 for Amazon subpoena,



            GR     A103    Draft follow-up email to L. Lim (in-house counsel for              0.80      460.00
                           defendants) re meet-and-confer, preliminary injunction           575.00/hr
                           motion and discovery; analyze


 11/3/2016 BM      A103    Meeting with J. Lee to review and identify                         1.50      547.50
                                                              ; prepare draft Notice of     365.00/hr
                           Subpoena to Amazon.com, Inc.; correspond with G.
                           Ruttenberg re same.

            JL     A103    Continue research re                                      ;        3.00      345.00
                                                                                            115.00/hr
                                           for Amazon subpoena, and

                                                                           ; confer with
                           B. Madanat re same.

 11/4/2016 JL      A103    Continue research re                                               1.10      126.50
                           f                                                                115.00/hr
                                             for Amazon subpoena,

                                                                   re same.
      Case 2:16-cv-07916-AG-SS Document 165-1 Filed 11/20/17 Page 10 of 97 Page ID
                                        #:4414


Drop Stop LLC                                                                                         Page   2


                                                                                         Hrs/Rate      Amount

  11/8/2016 WS   A108   Confer with process servers re new instructions for service in      1.40        273.00
                        Indiana, review code of civil procedure in California and         195.00/hr
                        Indiana re issues surrounding same.

  11/9/2016 WS   A108   Confer with process servers re status of service in Indiana.        0.50         97.50
                                                                                          195.00/hr

 11/10/2016 DK   A103                                                                       3.40        765.00
                                                                                          225.00/hr



           GR    A108   Various calls and emails to L. Lim and Tommy Wang re ex             0.80        460.00
                        parte application re discovery and possible PI motion; confer     575.00/hr
                        with clients re strategies for both.

 11/11/2016 DK   A103                                                                       6.50    NO CHARGE
                                                                                          225.00/hr


 11/14/2016 BM   A104                                                                       0.40    NO CHARGE
                                                                                          365.00/hr

           DK    A103                                                                       1.20        270.00
                                                                                          225.00/hr

 11/15/2016 BM   A104                                                                       0.20    NO CHARGE
                                                                                          365.00/hr

           DK    A103                                                                       3.30    NO CHARGE
                                                                                          225.00/hr

           WS    A103                                                                       1.10    NO CHARGE
                                                                                          195.00/hr

 11/16/2016 DK   A103                                                                       5.80    NO CHARGE
                                                                                          225.00/hr




           WS    A103   Revise proofs of service of summons and complaint per G.            2.60        507.00
                        Ruttenberg; review Indiana, California and FRCP re same.          195.00/hr

           WS    A103                                                                       0.50         97.50
                                                                                          195.00/hr

           GR    A103   Revise proofs of service; confer with W. Stevens re same.           1.00        575.00
                                                                                          575.00/hr
      Case 2:16-cv-07916-AG-SS Document 165-1 Filed 11/20/17 Page 11 of 97 Page ID
                                        #:4415


Drop Stop LLC                                                                                            Page    3


                                                                                           Hrs/Rate       Amount

 11/17/2016 GR      A103   Draft follow-up correspondence to T. Wang (defendants'              0.40        230.00
                           counsel).                                                         575.00/hr

 11/18/2016 GR      A103   Draft further correspondence and conduct telephone                  0.50        287.50
                           conferences with Defendants' counsel.                             575.00/hr

 11/28/2016 WS      A103   Finalize, file and serve Proofs of Service of Summons and           2.90        565.50
                           Complaint per G. Ruttenberg; meet with G. Ruttenberg to           195.00/hr
                           discuss same.

           GR       A103   Revise proofs of service for corporate defendants, and confer       1.20        690.00
                           with W. Stevens re same.                                          575.00/hr

                For professional services rendered                                            41.30      $6,435.00

           Additional Charges :

  11/8/2016 JL      Attorney Service Fee to Serve Summons & Complaint to Zake International Inc. in        322.35
                    Granger, IN; First Legal Network LLC, Invoice No. 10065614

           JL       Attorney Service Fee to Serve Summons & Complaint to Zake USA in Granger, IN;          147.87
                    First Legal Network LLC, Invoice No. 10065614

           JL       Attorney Service Fee to Serve Summons & Complaint to 3BTech, Inc. in Granger,          147.87
                    IN; First Legal Network LLC, Invoice No. 10065614

           JL       Attorney Service Fee to Serve Summons & Complaint to Zake International Inc. in        322.35
                    South Bend, IN; First Legal Network LLC, Invoice No. 10065614

           JL       Attorney Service Fee to Serve Summons & Complaint to Zake USA in South Bend,           147.87
                    IN; First Legal Network LLC, Invoice No. 10065614

           JL       Attorney Service Fee to Serve Summons & Complaint to 3BTech, Inc. in South             147.87
                    Bend, IN; First Legal Network LLC, Invoice No. 10065614

 11/17/2016 JL      Attorney Service Fee to Deliver Courtesy Copy of Proof of Service of Summons & -        72.40
                    US District Court in Santa Ana, CA; Nationwide Legal, Invoice No. 148872

 11/28/2016 JL      Attorney Service Fee to Deliver Courtesy Copy of Proofs of Service of Summons -         61.00
                    US District Court in Santa Ana, CA; Nationwide Legal, Invoice No. 148872

 11/30/2016 JL      Photocopies of case related documents - November 2016                                     2.30

           JL       Online Research - November 2016; Westlaw                                                29.92

           JL       Court Fees to download case related documents - November 2016; Pacer                      5.10

                Total additional charges                                                                 $1,406.90
       Case 2:16-cv-07916-AG-SS Document 165-1 Filed 11/20/17 Page 12 of 97 Page ID
                                         #:4416


Drop Stop LLC                                                                   Page   4


                                                                                 Amount


                Total amount of this bill                                       $7,841.90




Thank you for your Business.
      Case 2:16-cv-07916-AG-SS Document 165-1 Filed 11/20/17 Page 13 of 97 Page ID
                                 Ruttenberg
                                        #:4417IP Law
                                              A Professional Corporation
                                          1801 Century Park East, Suite 1920
                                               Los Angeles, CA 90067
                                                  EIN #
                                                   (310) 627-2270

Invoice submitted to:
Drop Stop LLC
Jeffrey Simon, Co-President




January 24, 2017

Invoice #          10306
Firm Matter No.:   1128-100           Patent Infringment & Trademark


            Professional Services

                                                                                            Hrs/Rate     Amount

 12/1/2016 BM      A103    Review and revise application for entry of default against all      0.20        73.00
                           Defendants; confer re same with W. Stevens.                       365.00/hr

            GR     A107    Draft various correspondence to all Defendants' counsel re          1.50       862.50
                           entry of default; various telephone conferences with opposing     575.00/hr
                           counsel (J. Fang) re entry of default and service of process;
                           communicate with clients re            ; finalize request for
                           entry of default.

 12/5/2016 GR      A103    Draft response email from J. Wang re service, default and           0.30       172.50
                           proposed stipulations.                                            575.00/hr

12/19/2016 GR      A102    Research                                                 .          1.00       575.00
                                                                                             575.00/hr

12/21/2016 BM      A104    Review and analyze Defendants' motion to vacate entry of            1.20       438.00
                           default; conduct research re                           ;          365.00/hr
                           confer with W. Stevens re



            WS     A102    Assist B. Madanat with researching issues regarding                 0.60    NO CHARGE
                           defendants' motion challenging service.                           195.00/hr

12/23/2016 BM      A104    Further review and analyze Defendants' Motion to Set Aside          3.50      1,277.50
                           Default; meeting with G. Ruttenberg re strategy for opposing      365.00/hr
                           motion
                                                  ; telephone conference with Drop Stop
                           re same;
                                           ; prepare joint stipulation and proposed order
                           re extending briefing schedule; correspond re same with
                           opposing counsel and G. Ruttenberg.
      Case 2:16-cv-07916-AG-SS Document 165-1 Filed 11/20/17 Page 14 of 97 Page ID
                                        #:4418


Drop Stop LLC                                                                                             Page   2


                                                                                             Hrs/Rate      Amount

 12/23/2016 WS   A103   Assist B. Madanat with preliminary drafting of Opposition to            3.00    NO CHARGE
                        defendants Motion to Set Aside Default; assist with factual           195.00/hr
                        and legal research re same.

           GR    A103   Draft proposed stipulation and further correspondence to                1.00    NO CHARGE
                        Defendants' counsel (T. Wang) re extension for opposing               575.00/hr
                        motion set aside entry of default; follow-up telephone
                        conferences to Defendants' counsel (J. Wang and J. Fang).

 12/28/2016 BM   A103   Prepare draft ex parte application to extend briefing schedule;         2.80    NO CHARGE
                        confer with G. Ruttenberg re same and prepare revisions               365.00/hr
                        thereto; prepare Declaration of Guy Ruttenberg in support of
                        ex parte application, as well as proposed order; facilitate filing
                        of all documents.

           JL    A111   Assist with filing Ex Parte Application to Extend Briefing              0.20    NO CHARGE
                        Schedule.                                                             115.00/hr

           GR    A103   Further correspondence with T. Wang re extending schedule               0.50    NO CHARGE
                        for motion for relief from entry of default; revise ex part           575.00/hr
                        application re same.

 12/29/2016 BM   A104   Review draft reply brief in support of Plaintiff's ex parte             0.20    NO CHARGE
                        application to extend briefing schedule; review and analyze           365.00/hr
                        Order re ex part application.

           DK    A103   Draft and revise reply brief in support of ex parte application         0.60    NO CHARGE
                        to extend time to file opposition; compile cases cited in             225.00/hr
                        support of defendants' motion to set aside default.

           JL    A111   Assist with finalizing and filing reply in support of ex parte          0.20    NO CHARGE
                        appliation to extend briefing schedule.                               115.00/hr

           GR    A103   Draft reply in support of ex parte application; review Court's          0.20    NO CHARGE
                        Order denying same.                                                   575.00/hr

           BM    A103   Further prepare draft Opposition to Defendants' Motion to               3.20      1,168.00
                        Vacate Entry of Default (all sections), including conducting          365.00/hr
                        research and reviewing relevant case materials.

 12/30/2016 BM   A103   Further prepare Opposition to Defendants' Motion to Vacate              7.00      2,555.00
                        Entry of Default (all portions), including conducting research        365.00/hr
                        related to service of process, vacating entry of default and
                        burden of proof, reviewing supporting materials and
                        conferring with G. Ruttenberg re same; review, revise and
                        finalize brief for filing.

           JL    A103   Assist G. Ruttenberg with reviewing and revising motion to              4.00        460.00
                        set aside default and preparing G. Ruttenberg declaration             115.00/hr
                        and exhibits in support of same.
       Case 2:16-cv-07916-AG-SS Document 165-1 Filed 11/20/17 Page 15 of 97 Page ID
                                         #:4419


Drop Stop LLC                                                                                                 Page    3


                                                                                               Hrs/Rate         Amount

 12/30/2016 GR      A103    Draft and revise opposition to Defendants' motion to set aside         7.50        4,312.50
                            entry of default; research issues relating to service on             575.00/hr
                            corporate entities in Indiana, and service under California and
                            federal law; analyze possible sanctions.

 12/31/2016 BM      A103    Review and revise opposition to motion to vacate entry of              2.20         803.00
                            default (all sections); confer with team members re revisions,       365.00/hr
                            exhibit references, research and other issues.

             JL     A103    Further assist G. Ruttenberg with reviewing and revising               4.10         471.50
                            motion to set aside default and preparing exhibits in support        115.00/hr
                            of same.

             GR     A103    Further edits and revisions to opposition to Defendants'               4.50        2,587.50
                            motion to set aside entry of default; draft supporting               575.00/hr
                            documents, including declaration in support of motion.

                For professional services rendered                                                49.50      $15,756.00

             Additional Charges :

  12/2/2016 JL      Attorney Service Fee to Deliver Courtesy Copy of Application for Default - US District       28.10
                    Court in Santa Ana, CA; Nationwide Legal, Invoice No. 149279

 12/29/2016 JL      Attorney Service Fee to Deliver Courtesy Copy of Ex Parte Application to Extend              71.30
                    Briefing Schedule - US District Court in Santa Ana, CA; Nationwide Legal, Invoice
                    No. 149585

 12/31/2016 JL      Court Fees to download case related documents - December 2016; Pacer                           3.90

             JL     Photocopies of case related documents - December 2016                                          2.40

             JL     Online Research - December 2016; Westlaw                                                    295.26

                Total additional charges                                                                       $400.96


                Total amount of this bill                                                                    $16,156.96




Thank you for your Business.
      Case 2:16-cv-07916-AG-SS Document 165-1 Filed 11/20/17 Page 16 of 97 Page ID
                                 Ruttenberg
                                        #:4420IP Law
                                               A Professional Corporation
                                           1801 Century Park East, Suite 1920
                                                Los Angeles, CA 90067
                                                   EIN #
                                                    (310) 627-2270

Invoice submitted to:
Drop Stop LLC
Jeffrey Simon, Co-President




February 10, 2017

Invoice #           10327
Firm Matter No.:    1128-100           Patent Infringment & Trademark


            Professional Services

                                                                                              Hrs/Rate     Amount

  1/1/2017 JL       A103    Further assist G. Ruttenberg with reviewing and revising             3.50       402.50
                            motion to set aside default and G. Ruttenberg declaration and      115.00/hr
                            exhibits in support of same.

            GR      A103    Further revisions to Drop Stop's opposition to Defendants'           3.50      2,012.50
                            motion to set aside entry of default; revise declarations and      575.00/hr
                            exhibits in support of same.

  1/2/2017 BM       A103    Review and revise opposition to motion to vacate entry of            0.80    NO CHARGE
                            default (all portions); confer re same with G. Ruttenberg.         365.00/hr

            JL      A103    Further assist G. Ruttenberg with reviewing and revising             1.40    NO CHARGE
                            motion to set aside default and G. Ruttenberg declaration and      115.00/hr
                            exhibits in support of same.

            GR      A103    Finalize Opposition to motion to set aside entry of default and      4.00      2,300.00
                            accompanying materials.                                            575.00/hr

            WS      A103    Assist G. Ruttenberg with finalizing, filing and serving             2.00    NO CHARGE
                            Opposition to Motion to Set Aside Default Judgment.                195.00/hr

 1/18/2017 BM       A101    Prepare                                    for upcoming              1.60       584.00
                            hearing on motion to set aside entry of default.                   365.00/hr

 1/19/2017 BM       A104    Further prepare for hearing on motion to set aside default,          1.00       365.00
                            including review and analysis of key points of fact and law in     365.00/hr
                            briefs, and prepare outline.

            WS      A101    Assist B. Madanat with preparing binders of pleadings and            2.20    NO CHARGE
                            cases for use at upcoming hearing.                                 195.00/hr

            JL      A101    Assist with preparing binders of pleadings and cases for use         0.80    NO CHARGE
                            at upcoming hearing.                                               115.00/hr
      Case 2:16-cv-07916-AG-SS Document 165-1 Filed 11/20/17 Page 17 of 97 Page ID
                                        #:4421


Drop Stop LLC                                                                                          Page   2


                                                                                          Hrs/Rate      Amount

  1/20/2017 BM   A104   Review and analyze tentative ruling from the Court; finalize         0.80        292.00
                        materials in preparation for hearing on motion to set aside        365.00/hr
                        entry of default.

           JL    A101   Assist with reviewing and finalizing briefing and cases binders      2.00    NO CHARGE
                        for Motion to Set Aside Default Judgment Hearing on January        115.00/hr
                        23, 2017.

           WS    A101   Assist B. Madanat with finalizing binders of pleadings and           1.70    NO CHARGE
                        cases for use at upcoming hearing.                                 195.00/hr

  1/22/2017 BM   A102   Conduct research re                                                  1.30        474.50
                                                                ; prepare memo             365.00/hr
                        re same and correspond re same with G. Ruttenberg.

           GR    A101   Prepare for hearing on Defendants' motion to set aside               1.00        575.00
                        default judgment; research for same, issues relating to            575.00/hr
                                                                      .

  1/23/2017 BM   A109   Further prepare for hearing on motion to set aside entry of          3.00      1,095.00
                        default; appear for hearing on motion to set aside entry of        365.00/hr
                        default; telephone conference with J. Simon and M.
                        Newburger re                                        ; confer
                        with G. Ruttenberg re
                                       .

           GR    A109   Attend hearing on Defendants' motion to set aside entry of           3.40      1,955.00
                        default; prepare for same; argue same; follow-up telephone         575.00/hr
                        conference with clients re same; confer with J. Fang
                        (opposing counsel) re same; correspond with J. Fang re
                        potential settlement discussions.

  1/24/2017 GR   A107   Confer with J. Fang (opposing counsel) re Court-ordered              0.20        115.00
                        settlement discussions.                                            575.00/hr

  1/26/2017 BM   A103   Review and analyze Defendants' "Status Report" filed with            0.40    NO CHARGE
                        Court; confer re same with G. Ruttenberg; review and revise        365.00/hr
                        Plaintiff's response to Defendants' Status Report.

           WS    A103   Assist G. Ruttenberg and B. Madanat with drafting, filing and        1.70        331.50
                        serving Drop Stop's response to Defendants' status report.         195.00/hr

           GR    A103   Confer with J. Fang (opposing counsel) re Defendants'                1.20        690.00
                        unilateral "Status Report"; draft response to same.                575.00/hr

  1/30/2017 GR   A104   Review Court's Order on motion to set aside judgment.                0.20    NO CHARGE
                                                                                           575.00/hr

  1/31/2017 BM   A106   Correspond with clients re                                           0.10    NO CHARGE
                                                                                           365.00/hr
       Case 2:16-cv-07916-AG-SS Document 165-1 Filed 11/20/17 Page 18 of 97 Page ID
                                         #:4422


Drop Stop LLC                                                                                               Page    3


                                                                                             Hrs/Rate         Amount

  1/31/2017 GR      A103    Review Court's Order re scheduling conference; draft                 0.30         172.50
                            correspondence to J. Fang (Defendants' counsel) re                 575.00/hr
                            scheduling Rule 26(f) conference and payment of sanctions.

                For professional services rendered                                              38.10      $11,364.50

             Additional Charges :

   1/1/2017 JL      Additional Court Fees to download case related documents - December 2016; Pacer            17.60

   1/3/2017 JL      Attorney Service Fee to Deliver Courtesy Copy of Opposition to Motion to Dismiss -         99.40
                    US District Court in Santa Ana, CA; Nationwide Legal, Invoice No. 149860

  1/20/2017 JL      Fee to prepare binders for Hearing re Motion to Set Aside Default on January 23,          182.81
                    2017 - iDiscover, LLC; Invoice No. 61258

  1/31/2017 JL      Photocopies of case related documents - January 2017                                         1.60

             JL     Court Fees to download case related documents - January 2017; Pacer                          0.60

             JL     Online Research - January 2017; Westlaw                                                    90.96

                Total additional charges                                                                     $392.97


                Total amount of this bill                                                                  $11,757.47




Thank you for your Business.
      Case 2:16-cv-07916-AG-SS Document 165-1 Filed 11/20/17 Page 19 of 97 Page ID
                                 Ruttenberg
                                        #:4423IP Law
                                              A Professional Corporation
                                          1801 Century Park East, Suite 1920
                                               Los Angeles, CA 90067
                                                  EIN #
                                                   (310) 627-2270

Invoice submitted to:
Drop Stop LLC
Jeffrey Simon, Co-President




March 10, 2017

Invoice #          10346
Firm Matter No.:   1128-100            Patent Infringment & Trademark


            Professional Services

                                                                                                 Hrs/Rate     Amount

  2/8/2017 DK      A103    Draft outline re Rule 26(f) conference; review local rules and           1.60       360.00
                           Judge Guilford's standing orders and standing patent rules.            225.00/hr

  2/9/2017 DK      A103    Draft and revise Rule 26(f) conference outline; meet with B.             3.90       877.50
                           Madanat and G. Ruttenberg re same; draft first set of                  225.00/hr
                           interrogatories and requests for production to defendants.

            BM     A104    Meeting with D. Kadin to discuss requirements and                        0.40    NO CHARGE
                           preparation for Rule 26(f) conference.                                 365.00/hr

            GR     A101    Prepare for Rule 26(f) conference; prepare                        .      1.00       575.00
                                                                                                  575.00/hr

 2/10/2017 DK      A101    Revise Rule 26(f) Conference outline, review and print A.                1.00       225.00
                           Guilford standing e-discovery order, protective order and              225.00/hr
                           patent rules for reference in Rule 26(f) Conference.

            DK     A108    Telephone conference with G. Ruttenberg and J. Fang re                   1.40       315.00
                           Rule 26(f) Conference and stipulation to stay application of           225.00/hr
                           patent rules.

            DK     A103    Review and revise Plaintiff's first set of interrogatories and           1.00       225.00
                           requests for production of documents to all Defendants;                225.00/hr
                           confer with G. Ruttenberg re same.

            WS     A103    Assist D. Kadin with drafting joint stipulation re patent local          0.80       156.00
                           rules.                                                                 195.00/hr

            WS     A103    Assist D. Kadin with drafting and serving first set of                   1.40       273.00
                           interrogatories and RFPs to all defendants.                            195.00/hr

            GR     A103    Prepare for and participate in Rule 26(f) conference; analyze            4.50      2,587.50
                           patent rules; finalize discovery requests; confer with opposing        575.00/hr
                           counsel re electronic service; various telephone conferences
      Case 2:16-cv-07916-AG-SS Document 165-1 Filed 11/20/17 Page 20 of 97 Page ID
                                        #:4424


Drop Stop LLC                                                                                              Page   2


                                                                                             Hrs/Rate       Amount

                        with opposing counsel re settlement issues, electronic
                        service and patent rules.

  2/13/2017 WS   A103   Revise, finalize, file and serve Joint Stip re Local Patent             0.70         136.50
                        Rules.                                                                195.00/hr

           GR    A103   Follow up re stipulation to stay patent rules; various                  1.30         747.50
                        telephone conferences with J. Fang and T. Wang re same;               575.00/hr
                        analyze and revise RFAs to Defendants.

  2/14/2017 MH   A102   Looking through                                                         6.10         701.50
                                                                 f all listings that          115.00/hr
                        include knock off versions of the "Drop Stop" in order for                        Not sought
                        them to be included in the subpoena.

           DK    A103   Review and revise Plaintiff's first set of requests for                 0.80         180.00
                        admission to all Defendants; draft subpoena to eBay, Inc.;            225.00/hr
                        review and revise subpoena to Amazon, Inc.

           JL    A102   Research re infringing                                                  2.50         287.50
                                                                                  t for       115.00/hr
                        Alibaba subpoena;


           WS    A103   Assist G. Ruttenberg and D. Kadin with finalizing and serving           0.50          97.50
                        Requests for Admissions.                                              195.00/hr

           GR    A103   Review and revise draft RFAs to defendants and subpoena to              2.50       1,437.50
                        Amazon; confer with opposing counsel (J. Fang) re historical          575.00/hr
                        sales numbers and settlement; draft settlement proposal;
                        correspond with clients (J. Simon and M. Newburger) re
                                                            .

  2/15/2017 MH   A102   Continuing to look through                                              5.30         609.50
                                                                                              115.00/hr   Not sought
                                                                                       for
                        them to be included in the subpoena.

           DK    A103   Draft Rule 26(f) Report; review and revise Amazon.com and               5.50       1,237.50
                        eBay.com subpoenas, related documents and exhibits; draft             225.00/hr
                        alibaba.com subpoena and related documents; confer with J.
                        Lee and W. Stevens re subpoenas; telephone conference
                        with G. Ruttenberg and M. Freedman of Amazon.com.

           JL    A102   Further research re infringing products                                 7.00         805.00
                                     ; further revise list                                    115.00/hr
                              to be used as exhibit for Alibaba subpoena; further
                        revise ASINs (historical and current) of same for Amazon
                        subpoena; finalize eBay, Alibaba, and Amazon subpoena
                        exhibits;
      Case 2:16-cv-07916-AG-SS Document 165-1 Filed 11/20/17 Page 21 of 97 Page ID
                                        #:4425


Drop Stop LLC                                                                                              Page    3


                                                                                             Hrs/Rate        Amount




  2/15/2017 GR      A107   Telephone conference with Amazon representatives re                  2.00        1,150.00
                           cease-and-desist to infringers; update clients re same; send       575.00/hr
                           follow-up materials to Amazon; revise subpoenas to Amazon
                           and eBay.

  2/16/2017 JL      A102   Assist G. Ruttenberg with preparing, reviewing, revising and         2.40         276.00
                           finalizing settlement offer letter to opposing counsel (J.         115.00/hr
                           Fang);                                                   ;
                           prepare and revise list
                                   to be used as exhibits for DHgate subpoena.

           GR       A103   Revise/finalize settlement offer letter; confer with clients re      1.50         862.50
                           same; analyze subpoena to DHGate.                                  575.00/hr

  2/23/2017 DK      A103   Review and revise Rule 26(f) Report.                                 0.70         157.50
                                                                                              225.00/hr

           GR       A103   Revise Rule 26(f) report; various correspondence with                1.20         690.00
                           opposing counsel re MSJ reply brief; analyze ex parte              575.00/hr
                           application to suspend patent rules.

  2/24/2017 WS      A103   Assist D. Kadin with filing and serving Initial Disclosures and      1.70         331.50
                           Joint Rule 26f Report.                                             195.00/hr

           DK       A103   Review and revise Rule 26(f) Report re Plaintiff's and               1.20         270.00
                           Defendants' edits; draft, revise and serve initial disclosures.    225.00/hr

           GR       A103   Further revisions to joint Rule 26(f) report; various telephone      1.50         862.50
                           conferences with opposing counsel re staying patent rules.         575.00/hr

  2/27/2017 DK      A103   Draft beginning of motion to opt out of patent rules.                0.70         157.50
                                                                                              225.00/hr

           JL       A102   Research service location for DHgate.com.                            0.80          92.00
                                                                                              115.00/hr

           GR       A106   Provide                          to clients.                         0.30         172.50
                                                                                              575.00/hr

                For professional services rendered                                             63.20      $16,856.00
       Case 2:16-cv-07916-AG-SS Document 165-1 Filed 11/20/17 Page 22 of 97 Page ID
                                         #:4426


Drop Stop LLC                                                                                              Page    4


             Additional Charges :

                                                                                                             Amount

   2/1/2017 JL      Transportation - Mileage and parking to attend Hearing re Motion to Set Aside             57.00
                    Default at Ronald Reagan Federal Building & Courthouse (January 23, 2017); Santa
                    Ana, CA - B. Madanat

             JL     Transportation - Attend Hearing re Motion to Set Aside Default at Ronald Reagan           56.04
                    Federal Building & Courthouse in Santa Ana, CA (January 23, 2017); G. Ruttenberg -
                    Uber

   2/9/2017 JL      Fee to prepare Binders for Hearing re Motion to Vacate Default Judgment on               267.73
                    January 23, 2017 - iDiscover, LLC; Invoice No. 61605

  2/13/2017 JL      Attorney Service Fee to Deliver Courtesy Copy of Joint Stipulation re Patent Local        29.20
                    Rules - US District Court in Santa Ana, CA; Nationwide Legal, Invoice No. 150677

  2/15/2017 JL      Attorney Service Fee to Serve Subpoena to Produce Documents to eBay Inc. in Los           99.46
                    Angeles, CA; First Legal Network LLC, Invoice No. 10077498

             JL     Attorney Service Fee to Serve Subpoena to Produce Documents to Alibaba Group             309.25
                    Holding Limited in Manhattan, NY; First Legal Network LLC, Invoice No. 10077498

  2/27/2017 JL      Attorney Service Fee to Deliver Courtesy Copy of Joint Rule 26 Report - US District       28.10
                    Court in Santa Ana, CA; Nationwide Legal, Invoice No. 151001

  2/28/2017 JL      Court Fees to download case related documents - February 2017; Pacer                        7.70

             JL     Photocopies of case related documents - February 2017                                     12.00

                Total additional charges                                                                    $866.48


                Total amount of this bill                                                                 $17,722.48




Thank you for your Business.
      Case 2:16-cv-07916-AG-SS Document 165-1 Filed 11/20/17 Page 23 of 97 Page ID
                                 Ruttenberg
                                        #:4427IP Law
                                             A Professional Corporation
                                         1801 Century Park East, Suite 1920
                                              Los Angeles, CA 90067
                                                 EIN #
                                                  (310) 627-2270

Invoice submitted to:
Drop Stop LLC
Jeffrey Simon, Co-President




May 18, 2017

Invoice #          10369
Firm Matter No.:   1128-100           Patent Infringment & Trademark


            Professional Services

                                                                                             Hrs/Rate     Amount

  3/1/2017 GR      A104    Review settlement response from Defendants; draft email to           0.50       287.50
                           clients re same.                                                   575.00/hr

  3/2/2017 DK      A104    Review J. Guilford's Standing Patent Rules and Defendants'           7.00      2,275.00
                           Answer; conduct research re                                        325.00/hr
                                                                             as alleged in
                           Defendants' counterclaims and affirmative defenses, and case
                           law regarding dismissal/striking of the same; prepare ex parte
                           application for one-week stay of standing patent rules, G.
                           Ruttenberg declaration in support thereof and proposed order re
                           same.

            GR     A103    Correspondence with Defendants' counsel re infringement              1.30       747.50
                           contentions and case schedule; draft ex parte application,         575.00/hr
                           supporting declaration and proposed Order to stay patent rules.

  3/3/2017 DK      A101    Prepare Scheduling Conference binder and confer with G.              3.00       975.00
                           Ruttenberg re same; conduct research re                            325.00/hr
                           Defendants' counterclaims and affirmative defenses and draft
                                                 .

            GR     A101    Various correspondence and telephone conferences with                1.00       575.00
                           opposing counsel (J. Fang) re patent rules, case schedule and      575.00/hr
                           settlement issues; prepare for scheduling conference.

  3/6/2017 DK      A109    Attend Scheduling Conference; confer with G. Ruttenberg and          0.40       130.00
                           J. Fang re same after Conference.                                  325.00/hr

            DK     A102    Conduct research re Central District of California panel             1.80       585.00
                           mediators with patent experience serving Los Angeles and           325.00/hr
                           Orange counties; prepare
      Case 2:16-cv-07916-AG-SS Document 165-1 Filed 11/20/17 Page 24 of 97 Page ID
                                        #:4428


Drop Stop LLC                                                                                            Page   2


                                                                                            Hrs/Rate      Amount

   3/6/2017 GR   A109   Attend and prepare for scheduling conference; confer with              2.00      1,150.00
                        opposing counsel (J. Fang) re mediation and settlement issues;       575.00/hr
                        review objections to subpoena from Amazon, and draft
                        correspondence re same; confer with clients re



   3/7/2017 GR   A104   Telephone conference with V. Powers (counsel for Amazon) re            1.00        575.00
                        objections to subpoena; analyze possible mediators; confer with      575.00/hr
                        D. Kadin re same.

   3/8/2017 DK   A108   Communicate with potential panel mediators re backgrounds,             0.60        195.00
                        availabilities and conflicts.                                        325.00/hr

           GR    A105   Confer with D. Kadin re potential mediators; email Amazon's            0.50        287.50
                        counsel (V. Powers) re subpoena.                                     575.00/hr

   3/9/2017 GR   A104   Review mediations; review correspondence with Jonathan Fang.           0.50        287.50
                                                                                             575.00/hr

  3/13/2017 GR   A107   Telephone conference with opposing counsel (J. Fang) re                0.30        172.50
                        extensions for discovery and answering counterclaims;                575.00/hr
                        correspondence re same.

  3/15/2017 GR   A107   Communicate with opposing counsel (J. Fang) re check for               0.20        115.00
                        sanctions; analyze dates for mediation.                              575.00/hr

  3/17/2017 GR   A107   Telephone conference with opposing counsel (J. Fong) re                0.20        115.00
                        potential mediators and scheduling mediation.                        575.00/hr

  3/20/2017 DK   A107   Telephone call with Defendants' counsel J. Fang re confirming          0.10         32.50
                        mediator, mediation date and mediation location.                     325.00/hr

  3/28/2017 DK   A103   Draft portion of meet and confer letter re Plaintiff's motions to      1.70        552.50
                        dismiss and strike Defendants' answer and affirmative defenses.      325.00/hr

  3/30/2017 DK   A108   Communicate with panel mediator T. Hanrahan, T. Wang and               0.40        130.00
                        G. Ruttenberg re mediation.                                          325.00/hr

           DK    A103   Draft mediation brief.                                                 3.70      1,202.50
                                                                                             325.00/hr

           GR    A108   Telephone conference with mediator (T. Hanrahan) and                   1.20        690.00
                        opposing counsel (T. Wang) re pre-call for mediation; analyze        575.00/hr
                        motion to strike/dismiss.

  3/31/2017 BM   A104   Confer with G. Ruttenberg and D. Kadin re                              3.20      1,168.00
                                                                ; review and finalize        365.00/hr
                        amended notice of subpoena and subpoena to Alibaba.com,
                        Inc. and confer with W. Stevens and G. Ruttenberg re same;
                        identify and correspond with General Counsel of Alibaba Group
                        (Tim Steinert) re notice of subpoena to Alibaba.com, Inc.;
      Case 2:16-cv-07916-AG-SS Document 165-1 Filed 11/20/17 Page 25 of 97 Page ID
                                        #:4429


Drop Stop LLC                                                                                                 Page    3


                                                                                               Hrs/Rate         Amount

                            review and analyze third party production from eBay and identify


  3/31/2017 WS      A103    Assist B. Madanat with revising and re-serving subpoena on             2.50         487.50
                            Alibaba.com, Inc. and confer with process servers re same.           195.00/hr

           DK       A103    Draft meet and confer letter.                                          1.00         325.00
                                                                                                 325.00/hr

           GR       A103    Revise Alibaba subpoena and accompanying letter.                       0.30         172.50
                                                                                                 575.00/hr

                For professional services rendered                                                34.40      $13,233.00

           Additional Charges :

   3/3/2017 JL      Attorney Service Fee to Deliver Courtesy Copy of Application to Stay Patent Local            30.30
                    Rules - US District Court in Santa Ana, CA; Nationwide Legal, Invoice No. 151414

   3/6/2017 JL      Transportation - Mileage to attend Case Scheduling Conference at Ronald Reagan               52.00
                    Federal Building & Courthouse; Santa Ana, CA - D. Kadin

           JL       Transportation - Attend Case Scheduling Conference at Ronald Reagan Federal                    5.54
                    Building & Courthouse in Santa Ana, CA; G. Ruttenberg - Uber

  3/31/2017 JL      Photocopies of case related documents - March 2017                                             2.90

           JL       Online Research - March 2017; Westlaw                                                       207.69

           JL       Court Fees to download case related documents - March 2017; Pacer                            13.60

           JL       Attorney Service Fee to Serve Subpoena to Produce Documents to Alibaba.com Inc. in           99.46
                    Los Angeles, CA; First Legal Network LLC, Invoice No. 10084515

                Total additional charges                                                                       $411.49


                Total amount of this bill                                                                    $13,644.49
      Case 2:16-cv-07916-AG-SS Document 165-1 Filed 11/20/17 Page 26 of 97 Page ID
                                        #:4430


Drop Stop LLC                                                                  Page   4
      Case 2:16-cv-07916-AG-SS Document 165-1 Filed 11/20/17 Page 27 of 97 Page ID
                                 Ruttenberg
                                        #:4431IP Law
                                              A Professional Corporation
                                          1801 Century Park East, Suite 1920
                                               Los Angeles, CA 90067
                                                  EIN #
                                                   (310) 627-2270

Invoice submitted to:
Drop Stop LLC
Jeffrey Simon, Co-President




May 19, 2017

Invoice #          10376
Firm Matter No.:   1128-100           Patent Infringment & Trademark


            Professional Services

                                                                                                Hrs/Rate     Amount

  4/3/2017 BM      A104    Further review and analyze production from eBay and assess              2.70       985.50
                                                                                                 365.00/hr
                                       ; review and identify

                                ; follow-up re service of Alibaba.com; review and analyze
                                                                   t DHGate.com and
                           prepare                ; review draft mediation brief.

            DK     A103    Review and revise mediation brief; compile exhibits re same;            2.20       715.00
                           telephone conference with J. Simon, M. Newburger and G.               325.00/hr
                           Ruttenberg re      .

            GR     A103    Revise mediation brief; confer with clients (J. Simon and M.            2.00      1,150.00
                           Newburger) re                                              ;          575.00/hr
                           analyze Answer and outstanding discovery requests.

            WS     A103    Follow-up with process servers re status of service in                  0.60       117.00
                           Alibaba.com, Inc.                                                     195.00/hr

            WS     A103    Assist D. Kadin with finalizing Mediation brief and exhibits to be      1.40       273.00
                           filed in support of same.                                             195.00/hr

  4/4/2017 JL      A102    Research service location for DHgate.com; confer re same with           2.50       287.50
                           B. Madanat.                                                           115.00/hr

            BM     A104                                                                            0.60       219.00
                                                                                                 365.00/hr


            GR     A104    Analyze Defendants' Answer in preparation for potential motion          1.60       920.00
                           to dismiss counterclaims and strike affirmative defenses; revise      575.00/hr
                           meet-and-confer letter re same; confer with team member (D.
                           Kadin) re same; correspond with opposing counsel re mediation.
      Case 2:16-cv-07916-AG-SS Document 165-1 Filed 11/20/17 Page 28 of 97 Page ID
                                        #:4432


Drop Stop LLC                                                                                            Page   2


                                                                                            Hrs/Rate      Amount

   4/4/2017 DK   A103   Review and revise meet and confer letter re motion to dismiss          2.50        812.50
                        and strike defendants' counterclaims and affirmative defenses;       325.00/hr
                        conduct research re same.

   4/5/2017 BM   A104                                                                          0.90        328.50
                                                                                             365.00/hr




           JL    A102   Research email address for courtesy copy of DHgate.com                 1.20        138.00
                        subpoena; further research re infringing products on                 115.00/hr
                        DHgate.com; review and revise list of seller names and DHgate
                        item codes to be used as exhibits for DHgate subpoena.

           WS    A103   Assist B. Madanat with drafting subpoena to DHGate.com.                2.20        429.00
                                                                                             195.00/hr

   4/6/2017 DK   A103   Draft proposed settlement agreement between Drop Stop, LLC             2.00        650.00
                        and Zhu, et al. in anticipation of 4/10/2017 mediation.              325.00/hr

           BM    A104                                                                          0.50        182.50
                                                                                             365.00/hr



           GR    A107   Various correspondence with Defendants' counsel re                     0.30        172.50
                        meet-and-confer and motion to dismiss.                               575.00/hr

   4/7/2017 BM   A104   Review correspondence from Alibaba re mis-directed service             0.80        292.00
                        attempt; review and analyze service information form provided        365.00/hr
                        by Alibaba; confer re same with W. Stevens; correspond with G.
                        Ruttenberg re
                                                     ; conduct further research into
                        alternative service targets for Alibaba.com.

           WS    A102   Assist B. Madanat with researching issues raised in                    1.20        234.00
                        Alibaba.com, Inc.'s response to subpoena.                            195.00/hr

           DK    A108   Telephone conference with T. Hanrahan and G. Ruttenberg re             0.70        227.50
                        4/10/2017 mediation.                                                 325.00/hr

           DK    A103   Draft ex parte application for continuance of plaintiff's time to      1.60        520.00
                        respond to defendants' counterclaims.                                325.00/hr
      Case 2:16-cv-07916-AG-SS Document 165-1 Filed 11/20/17 Page 29 of 97 Page ID
                                        #:4433


Drop Stop LLC                                                                                             Page   3


                                                                                             Hrs/Rate      Amount

   4/7/2017 GR   A108   Follow up with B. Madanat re service on DHGate.com; prepare             1.00        575.00
                        for mediation; telephone conference with T. Hanrahan                  575.00/hr
                        (mediator) re mediation; various emails with opposing counsel
                        re ex parte re dismissing counterclaims.

  4/10/2017 DK   A109   Attend mediation.                                                       4.40      1,430.00
                                                                                              325.00/hr

           DK    A103   Review and revise ex parte application re continuance of time to        0.50        162.50
                        answer or otherwise respond to defendants' counterclaims and          325.00/hr
                        affirmative defenses.

           WS    A103   Assist D. Kadin with finalizing, filing and serving Ex Parte            2.00        390.00
                        Application and documents in support of same.                         195.00/hr

           GR    A109   Attend mediation; follow-up with clients re same; prepare ex            4.20      2,415.00
                        parte application to for additional time to answer counterclaims;     575.00/hr
                        various communications with opposing counsel re same.

  4/11/2017 BM   A104                                                                           0.30        109.50
                                                                                              365.00/hr


           GR    A104   Review Defendants' opposition to motion for extension.                  0.30        172.50
                                                                                              575.00/hr

  4/12/2017 BM   A104                                                                           0.10         36.50
                                                                                              365.00/hr

           DK    A103   Draft motion to dismiss and strike Defendants' counterclaims            1.00        325.00
                        and affirmative defenses.                                             325.00/hr

           WS    A103   Assist G. Ruttenberg with drafting potential Reply in Support of        2.00        390.00
                        Ex Parte Application; review exhibits submitted with Ex Parte         195.00/hr
                        Application and prepare exhibits in response to same.

           GR    A103   Draft reply re ex parte application; review judge's Order re same.      0.50        287.50
                                                                                              575.00/hr

  4/13/2017 DK   A103   Draft motion to dismiss and strike Defendants' counterclaims            2.80        910.00
                        and affirmative defenses.                                             325.00/hr

  4/14/2017 GR   A107   Confer with opposing counsel re new counsel; email clients re           0.50        287.50
                        order and new counsel.                                                575.00/hr

  4/17/2017 DK   A103   Draft and revise motion to dismiss/strike counterclaims and             3.10      1,007.50
                        affirmative defenses.                                                 325.00/hr

           GR    A107   Confer with new opposing counsel re discovery issues,                   1.00        575.00
                        settlement and motion to dismiss counterclaims; confer with D.        575.00/hr
                        Kadin and re motion to dismiss; update clients re     .
      Case 2:16-cv-07916-AG-SS Document 165-1 Filed 11/20/17 Page 30 of 97 Page ID
                                        #:4434


Drop Stop LLC                                                                                                  Page    4


                                                                                                Hrs/Rate         Amount

  4/18/2017 DK      A107   Telephone conference with G. Ruttenberg, K. Mun and M. Li re             0.50         162.50
                           Defendants amending answer/counterclaims, stipulation and              325.00/hr
                           schedule re same.

           GR       A108   Telephone conference with new opposing counsel (K. Mun) re               0.50         287.50
                           motion to dismiss counterclaims, summary judgment and                  575.00/hr
                           settlement issues.

  4/19/2017 BM      A105                                                                            0.10          36.50
                                                                                                  365.00/hr

           JL       A103   Assist with preparing draft responses to Defendants' First Set of        1.00         115.00
                           Interrogatories; review and revise draft responses to                  115.00/hr
                           Defendants' First Set of RFP's.

           WS       A103   Begin drafting responses to requests for production and                  1.50         292.50
                           interrogatories per B. Madanat.                                        195.00/hr

           GR       A103   Revise stipulation re extending time for amended                         0.50         287.50
                           counterclaims; confer with opposing counsel re same.                   575.00/hr

  4/20/2017 BM      A104   Review Order from Court re scheduling deadline to submit                 0.10          36.50
                           response to counterclaims.                                             365.00/hr

  4/24/2017 GR      A108   Telephone conference with mediation re possible settlement;              0.70         402.50
                           exchange emails with clients re case status.                           575.00/hr

  4/26/2017 GR      A106   Call with clients re litigation strategy and settlement.                 0.50         287.50
                                                                                                  575.00/hr

  4/28/2017 GR      A104   Review counterclaims and affirmative defenses filed by                   0.50         287.50
                           Defendants; confer with clients re same; draft correspondence          575.00/hr
                           to opposing counsel re same and re upcoming motions.

                For professional services rendered                                                 57.10      $19,922.50

           Additional Charges :

   4/5/2017 JL      Attorney Service Fee to Serve Subpoena to Produce Documents to Heguang                       282.50
                    International Group Limited; First Legal Network LLC, Invoice No. 10086394

  4/10/2017 JL      Transportation - Mileage & Parking to attend Mediation at Sidley Austin; Los Angeles,         55.77
                    CA - D. Kadin & G. Ruttenberg

  4/11/2017 JL      Attorney Service Fee to Deliver Courtesy Copy of Ex Parte Application re                      45.50
                    Counterclaims - US District Court in Santa Ana, CA; Nationwide Legal, Invoice No.
                    152453

  4/30/2017 JL      Online Research - April 2017; Westlaw                                                        107.14
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                                                                                           Amount

  4/30/2017 JL      Court Fees to download case related documents - April 2017; Pacer         9.50

           JL       Photocopies of case related documents - April 2017                      35.70

                Total additional charges                                                  $536.11


                Total amount of this bill                                               $20,458.61
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                                 Ruttenberg
                                        #:4436IP Law
                                              A Professional Corporation
                                          1801 Century Park East, Suite 1920
                                               Los Angeles, CA 90067
                                                  EIN #
                                                   (310) 627-2270

Invoice submitted to:
Drop Stop LLC
Jeffrey Simon, Co-President




July 12, 2017

Invoice #          10405
Firm Matter No.:   1128-100            Patent Infringment & Trademark


            Professional Services

                                                                                                 Hrs/Rate     Amount

   5/1/2017 DK     A104    Review Defendants' amended answer and counterclaims;                     6.00      1,950.00
                           conduct research                                                       325.00/hr

                                                                 , including areas
                           referenced in amended answer and counterclaims; revise
                           draft motion to dismiss in light of Defendants' amendments;
                           telephone conference with G. Ruttenberg re




   5/2/2017 DK     A103    Review and revise updated motion to dismiss/strike                       7.00      2,275.00
                           Defendants' amended counterclaims/affirmative defenses;                325.00/hr
                           conduct research re

                                               ; telephone conference with G. Ruttenberg,
                           K. Mun and L. Mei re dismissal of certain Defendants,
                           infringement/invalidity contentions, claim construction,
                           Plaintiff's motion to dismiss/strike, motion for summary
                           judgment and motion for preliminary injunction.

   5/3/2017 BM     A104    Further review and analyze discovery requests propounded                 0.60    NO CHARGE
                           on Plaintiffs; confer with D. Kadin re strategy for drafting           365.00/hr
                           responses and objections for responses to interrogatories
                           and requests for production of documents.

            GR     A106    Review meet-and-confer letter from opposing counsel; draft               0.70       402.50
                           response to same; confer with clients re                               575.00/hr


            DK     A103    Review Defendants' first set of interrogatories to plaintiff; draft      6.00      1,950.00
                           Plaintiff's responses to same; conduct research of                     325.00/hr

                                                                        ; review '291 patent
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                                                                                          Hrs/Rate      Amount

                        file wrapper in preparation for responding to Defendant's
                        interrogatories; confer with B. Madanat re


   5/4/2017 DK   A104   Review Defendants' responses to Plaintiff's first set of             4.50      1,462.50
                        interrogatories and requests for production of documents;          325.00/hr
                        draft meet and confer letter re deficiencies in same; draft
                        Plaintiff's responses to Defendants' first set of requests for
                        production of documents; draft correspondence to K. Mun re
                        whether Defendants would oppose Plaintiff's motion for
                        preliminary injunction and whether Defendants' would oppose
                        Plaintiff amending complaint.

           GR    A105   Further revisions to meet and confer letter; communicate with        0.30        172.50
                        team member D. Kadin re discovery issues.                          575.00/hr

   5/5/2017 DK   A103   Review and revise meet and confer letter re Defendants'              2.50        812.50
                        discovery responses; correspond with K. Mun re amendment           325.00/hr
                        to complaint and motion for preliminary injunction; review
                        Defendants' responses to Plaintiff's first set of requests for
                        admission; draft Plaintiff's responses and objections to
                        Defendants' first set of requests for production of documents.

           GR    A103   Revise correspondence to opposing counsel re amending                2.00      1,150.00
                        Complaint and potential preliminary injunction motion;             575.00/hr
                        analyze Defendants' RFA responses; revise draft
                        meet-and-confer letter.

   5/8/2017 BM   A104   Review and revise draft responses to interrogatories and             4.10    NO CHARGE
                        requests for production; review G. Ruttenberg's comments re        365.00/hr
                        same; confer re same with D. Kadin; review correspondence
                        from Delaware registered agent for service of process for
                        DHGate.com/Heguang re void corporation; conduct online
                        investigation re




           WS    A103   Assist G. Ruttenberg and D. Kadin with drafting First                2.80        546.00
                        Amended Complaint and Motion and Stipulation re same; file         195.00/hr
                        and serve First Amended Complaint and Stipulation re same.

           WS    A102   Research service issues regarding DHGate.com and                     2.90        565.50
                        Heguang International Group Ltd. per B. Madanat.                   195.00/hr

           DK    A103   Draft motion for summary judgment re patent infringement             8.30      2,697.50
                        and no invalidity; confer with B. Madant re same; conduct          325.00/hr
                        research                              ; review and revise draft
                        responses to Defendants' first set of interrogatories and
                        requests for production of documents; review and revise
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                                                                                           Hrs/Rate      Amount

                        motion for leave to amend complaint and stipulation re same;
                        review and revise first amended complaint.

   5/9/2017 DK   A103   Review and revise draft responses to Defendants' first set of         7.30      2,372.50
                        interrogatories                                                     325.00/hr
                                   draft motion for summary judgment re
                                                                            ; review 291
                        Patent, file history and publicly available information re
                        ChiTronic product.

           BM    A104   Conduct further review into Heguang Group Limited location,           1.70    NO CHARGE
                        background, corporate status and other indicia of corporate         365.00/hr
                        structure to facilitate service of DHGate.com; correspond with
                        G. Ruttenberg re same; review updated drafts to Plaintiffs'
                        responses to interrogatories; confer with D. Kadin re



           GR    A103   Review and revise responses to Defendants' interrogatory              3.50      2,012.50
                        responses; confer with D. Kadin re same; draft proposed             575.00/hr
                        stipulation to file Amended Complaint adding doctrine of
                        equivalents theories and adding Taiwu as a defendant; confer
                        with D. Kadin re amended complaint; various emails with
                        opposing counsel re same.

  5/10/2017 BM   A104   Review and analyze motion to dismiss and supporting                   0.70    NO CHARGE
                        documents filed by Defendants; confer re same with team             365.00/hr
                        members.

           DK    A103   Review and revise responses to Defendants' first set of               7.60      2,470.00
                        interrogatories; draft motion for summary judgment re patent        325.00/hr
                        infringement and no invalidity; review 291 Patent, file history
                        and publicly available information re ChiTronic product;
                        conduct research re
                                                            t; review Defendants'
                        motion to dismiss; conduct preliminary research re


           WS    A103   Assist D. Kadin with drafting Opposition to Motion to Dismiss         1.50        292.50
                        and documents in support; pull cases cited in Defendants'           195.00/hr
                        Motion to Dismiss.

           GR    A103   Prepare further revisions to Interrogatory responses; confer          1.50        862.50
                        with D. Kadin re same.                                              575.00/hr

  5/11/2017 BM   A102   Conduct research re                                                   1.90    NO CHARGE
                                                                                            365.00/hr
                                          ; review and analyze meet and confer
                        materials regarding Defendants' discovery responses; confer
                        with D. Kadin re same in preparation for upcoming telephone
                        conference.
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                                                                                           Hrs/Rate      Amount

  5/11/2017 DK   A103   Draft motion for summary judgment re patent infringement              8.00      2,600.00
                        and no invalidity with attention to                                 325.00/hr
                                          ; review 291 Patent, file history and publicly
                        available information re ChiTronic product; conduct additional
                        research re
                                                            ; telephone conference
                        with G. Ruttenberg and K. Mun re outstanding discovery
                        issues and Defendants' discovery responses; confer with G.
                        Ruttenberg re

                                                 ; draft follow up correspondence to
                        K. Mun summarizing points discussed during meet and
                        confer.

           GR    A109   Telephone conference with mediator (T. Hanrahan) re                   2.00      1,150.00
                        settlement offers from Defendants; confer with D. Kadin re          575.00/hr
                        follow-up discovery issues, motion to dismiss, interrogatory
                        responses, and other issues; participate in meet-and-confer
                        with opposing counsel re deficient discovery responses.

           WS    A110   Review collection of documents produced by third-parties per          0.60        117.00
                        D. Kadin; intake Defendants' third-party subpoenas and              195.00/hr
                        calendar relevant dates per D. Kadin.

  5/12/2017 WS   A103   Assist D. Kadin with drafting subpoena to R. MacMillan per            1.20    NO CHARGE
                        G. Ruttenberg.                                                      195.00/hr

           WS    A103   Assist D. Kadin with drafting oppositions to third party              1.60    NO CHARGE
                        subpoenas to Cislo & Thomas, Sang N. Dang and Klein,                195.00/hr
                        O'Neill & Singh.

           BM    A104   Confer with D. Kadin re draft discovery responses and                 0.30    NO CHARGE
                        objections to third party subpoenas.                                365.00/hr

           GR    A104   Confer with D. Kadin re discovery issues, motion to dismiss,          0.80    NO CHARGE
                        summary judgment and settlement; analyze same.                      575.00/hr

           DK    A108   Telephone call with K. Mun re briefing deadlines; telephone           8.10      2,632.50
                        call with J. Simon and M. Newburger re                              325.00/hr
                                                                            ;
                        telephone call with D. Cavanagh of Klein, O'Neill & Singh re
                                                                       ; draft and
                        revise R. MacMillan third party subpoena; draft portions of
                        objections to third party subpoena to Cislo & Thomas; review
                        and revise motion for summary judgment



  5/14/2017 GR   A103   Revise written responses and objections to Defendants'                1.50        862.50
                        requests for documents and interrogatories.                         575.00/hr
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                                                                                          Hrs/Rate      Amount

  5/15/2017 DK   A103   Review and revise Plaintiff's responses to Defendants' first         6.50      2,112.50
                        set of requests for production of documents re G. Ruttenberg       325.00/hr
                        edits; draft and revise Plaintiff's objections to third party
                        deposition and document subpoenas to Cislo & Thomas,
                        Klein, O'Neill & Singh and Sang N. Dang; research
                                                                                      ;
                        draft supplemental interrogatories to Defendants re
                        Defendants relationships and ownership.

           BM    A103   Review and revise draft responses to requests for production;        1.00    NO CHARGE
                        confer with D. Kadin re same; confer with D. Kadin re              365.00/hr



           GR    A103   Confer with D. Kadin re objections to subpoenas, and                 1.50    NO CHARGE
                        coordinating with subpoenaed law firms; revise objections to       575.00/hr
                        RFPs and other written discovery.

  5/16/2017 BM   A104   Review and analyze materials re                                      0.30    NO CHARGE
                                                                                           365.00/hr

           DK    A103   Draft opposition to motion to dismiss parties from FAC;              7.10      2,307.50
                        conduct research re                                                325.00/hr

                                              ; review prior meet and confer
                        correspondence with K. Mun; review Defendants' motion to
                        dismiss; review
                               ; telephone conference with J. Simon and M.
                        Newburger re

                                                             .

           JL    A102   Research contact information for Taiwu Keji Co., Ltd.,               1.00    NO CHARGE
                        including email address and/or phone number.                       115.00/hr

           GR    A104   Analyze Amazon's objections to subpoena; continued                   2.00      1,150.00
                        correspondence with V. Powers (Amazon's counsel) re                575.00/hr
                        meeting and conferring and possible motion to compel;
                        confer with D. Kadin re
                                                             .

  5/17/2017 BM   A104   Meeting with G. Ruttenberg to discuss                                2.60    NO CHARGE
                                                                                           365.00/hr
                                                                        ; review
                        status of pending document subpoenas; confer with D. Kadin
                        re                                    ; review and analyze
                        current draft of summary judgment motion, including
                                               ; confer with W. Stevens re status of
                        3rd party subpoenas.
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                                                                                          Hrs/Rate      Amount

  5/17/2017 GR   A103   Analyze and revise responses to Defendants' interrogatories          4.50      2,587.50
                        and Requests for Production; revise objections to                  575.00/hr
                        Defendants' subpoenas addressed to Drop Stop's former
                        counsel; draft and revise supplemental discovery requests
                        and subpoenas; follow-up with Amazon's counsel re
                        subpoena; analyze potential motion                       ;
                        assess potential technical and damages experts; confer with
                        team members re
                                                     ; draft correspondence to
                        opposing counsel (K. Mun) re service on Taiwu; revise
                        correspondence to opposing counsel (K. Mun) re operating
                        answer/counterclaims as it relates to motion to strike/dismiss.

           DK    A103   Draft opposition to Defendants' motion to dismiss and/or for         9.60      3,120.00
                        judgment on the pleadings; conduct research re                     325.00/hr
                                                                                     ;
                        review and revise plaintiff's interrogatories and requests for
                        production of documents to defendants; review and revise
                        third party subpoena to R. MacMillan; review and revise third
                        party objections; draft correspondence to opposing counsel
                        re operative pleadings.

           WS    A103   Draft Summons to Defendant Taiwu per G. Ruttenberg.                  0.50         97.50
                                                                                           195.00/hr

           WS    A103   Assist D. Kadin with drafting new sets of Requests for               3.10        604.50
                        Production and Interrogatories per G. Ruttenberg.                  195.00/hr

           WS    A102   Research protocol for filing a Motion to Compel in W.                1.00    NO CHARGE
                        Washington per G. Ruttenberg; review Federal and Local             195.00/hr
                        Rules re same.

           JL    A102   Research contact information for Taiwu Keji Co., Ltd.,               1.50    NO CHARGE
                        including email address and/or phone number.                       115.00/hr

  5/18/2017 BM   A103   Conduct research re                                                  8.00    NO CHARGE
                                                                                           365.00/hr

                                       ; review and revise


                                                      ; confer with D. Kadin re

                                         ; prepare portions of separate statement of
                        uncontroverted facts; confer with team members re status of
                        service information re DHGate.com.

           WS    A102   Research protocol for filing a Motion to Compel in W.                1.70    NO CHARGE
                        Washington per G. Ruttenberg; review Federal and Local             195.00/hr
                        Rules re same;                                       .
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                                                                                          Hrs/Rate      Amount

  5/18/2017 WS   A103   Assist D. Kadin with further edits to Responses to Discovery         2.90        565.50
                        propounded by Defendants; assist with finalizing and serving       195.00/hr
                        same.

           DK    A103   Draft and revise opposition to Defendants' motion to dismiss;        8.30      2,697.50
                        conduct research re                                                325.00/hr
                                                                                   ;
                        review and revise plaintiff's responses to defendants' request
                        for production of documents and interrogatories.

           GR    A103   Analyze potential motion to compel against Amazon in                 5.50      3,162.50
                        Washington; confer with clients            ; revise objections     575.00/hr
                        to subpoenas directed to former prosecution firms; confer
                        with W. Pak (Cislo & Thomas) re subpoena to his firm; revise
                        objections to Defendants' written discovery; analyze
                        opposition to Defendants' motion to dismiss; correspond with
                        opposing counsel (K. Mun) re service on Taiwu;
                        correspondence with Taiwu and "Also Popular" re service as
                        new Defendant.

  5/19/2017 WS   A103   Assist D. Kadin and B. Madanat with drafting new sets of             1.20    NO CHARGE
                        requests for production, admission and interrogatories per G.      195.00/hr
                        Ruttenberg.

           WS    A103   Assist D. Kadin with further revisions to Motion to Dismiss          7.60      1,482.00
                        Affirmative Defenses and to Strike Counterclaims; prepare          195.00/hr
                        documents and exhibits to be filed in support of same.

           BM    A103   Prepare and finalize additional discovery requests to                7.90    NO CHARGE
                        Defendants, including requests for admission and                   365.00/hr
                        interrogatories; confer re same with G. Ruttenberg and D.
                        Kadin; further prepare motion for summary judgment,
                        including portions relating to
                                     ; conduct research re moving to dismiss invalidity
                        counterclaims and confer re same with G. Ruttenberg and D.
                        Kadin; investigate


           DK    A103   Review and revise plaintiff's objections to defendants' third        9.60      3,120.00
                        party subpoenas; draft meet and confer letter re same and          325.00/hr
                                                                          ; review and
                        revise opposition to defendants' motion to dismiss and
                                ; review, revise and file plaintiff's motion to dismiss
                        defendants' amended counterclaims and strike affirmative
                        defenses; telephone conference with G. Ruttenberg, J.
                        Simon and M. Newburger re                                   ;
                        telephone conference with G. Ruttenberg and K. Mun re third
                        party subpoenas, protective order and filing deadlines;
                        telephone call with S. Dang re
                                    draft and revise plaintiff's second set of
                        interrogatories and requests for production of documents.
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                                                                                          Hrs/Rate      Amount

  5/19/2017 GR   A103   Telephone conference with eBay re patent infringement;               5.50      3,162.50
                        telephone conference with Amazon's counsel (V. Powers) re          575.00/hr
                        subpoena to Amazon; draft stipulation for Amazon; draft and
                        revise additional discovery requests; confer with clients;
                        revise motion to dismiss/strike counterclaims and affirmative
                        defenses.

  5/21/2017 GR   A103   Revise opposition to Defendants' motion to dismiss.                  1.50    NO CHARGE
                                                                                           575.00/hr

  5/22/2017 BM   A103   Review and revise draft opposition to motion to dismiss and          5.20    NO CHARGE
                        confer re same with D. Kadin; further prepare draft motion for     365.00/hr
                        summary judgment, including
                                                                                      ;
                        preliminary review and analysis of Defendants' Answer,
                        Affirmative Defenses and Counterclaims in response to
                        Plaintiff's FAC.

           DK    A103   Review and revise opposition to defendants' motion to                6.00      1,950.00
                        dismiss; communicate with W. Pak of Cislo & Thomas re              325.00/hr

                        communicate with D. Cavanagh re same; draft portions of
                        joint stipulation re plaintiff's motion to compel discovery.

           JL    A104                                                                        1.00    NO CHARGE
                                                                                           115.00/hr



           JN    A102   Confer with D. Kadin about possible motion for sanctions and         2.50        562.50
                        conduct research re same with respect to failure to appear for     225.00/hr
                        mediation.

           WS    A103   Assist D. Kadin with drafting Joint Stipulation in Support of        1.50    NO CHARGE
                        Motion to Compel Discovery; assist D. Kadin with research          195.00/hr
                        regarding sanctions for failure to appear at mediation; review
                        motions re same.

           GR    A103   Further revisions to opposition to Defendants' motion to             4.00      2,300.00
                        dismiss; analyze exhibits to same; analyze Defendants'             575.00/hr
                        written description arguments, and
                                          ; analyze MacMillan document, and various
                        correspondence and telephone calls with Mr. MacMillan re
                        willfulness communications; further analysis re Amazon's
                        response to subpoena, and draft stipulation re same; confer
                        with opposing counsel (K. Mun) re service on Taiwu, and
                        analyze issues relating to same.

           DK    A102   Conduct preliminary research re                                      1.00        325.00
                                                                                           325.00/hr
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                                                                                              Hrs/Rate      Amount

  5/23/2017 JN   A102   Conduct research regarding possible sanctions for failure to             8.70      1,957.50
                        appear at mediation, and for breach of confidentiality with            225.00/hr
                        respect to mediation and settlement negotiations; confer with
                        G. Ruttenberg and D. Kadin regarding motion for sanctions.

           BM    A103   Further prepare motion for summary judgment, including                   6.00    NO CHARGE
                                                                                               365.00/hr


                                ; conduct additional research re

                        confer with D. Kadin re infringement contentions; confer with
                        G. Ruttenberg re infringement contentions and strategies for


           DK    A103   Draft plaintiff's portion of joint stipulation re motion to compel;      6.90      2,242.50
                        review defendants' responses to plaintiff's first sets of              325.00/hr
                        interrogatories and requests for production of documents;
                        conduct research re motion to compel and relevant burdens
                        on objecting party;


           GR    A104   Analyze which Complaint is operative; analyze ability of                 1.00        575.00
                        Defendants to amend answer after the deadline in response              575.00/hr
                        to amended complaint.

           DK    A105                                                                            0.50        162.50
                                                                                               325.00/hr

  5/24/2017 JN   A103   Continue researching breach of confidentiality with respect to           7.80      1,755.00
                        settlement negotiations and ADR proceedings, and failure to            225.00/hr
                        appear for mediations and potential sanctions; prepare first
                        draft of motion for sanctions.

           BM    A103   Review and analyze prosecution history of '291 patent,                   5.60    NO CHARGE
                        including all                                                          365.00/hr

                                       review and analyze Defendants' claims of
                        inequitable conduct and invalidity and confer re same with D.
                        Kadin; further prepare motion for summary judgment,
                        including




           DK    A103   Review and revise joint stipulation re motion to compel;                 8.00      2,600.00
                        conduct supplemental research re same; communicate with                325.00/hr
                        D. Cavanagh re
                                                    ; draft 3BTech and Shenzhen
                        30(b)(6) deposition notices; review documents to produce
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                                                                                          Hrs/Rate      Amount

                        pursuant to Defendants' requests for production of
                        documents.

  5/24/2017 WS   A110   Organize documents to be produced                                    2.10    NO CHARGE
                                                                                           195.00/hr
                               draft email to G. Ruttenberg re same.

           WS    A103   Assist D. Kadin with drafting and revising Notices of                2.70    NO CHARGE
                        Deposition to corporate defendants, J. Zhu and L. Lim per G.       195.00/hr
                        Ruttenberg.

           GR    A104   Further discussions with Cislo & Thomas attorneys re                 3.50      2,012.50
                                                                                           575.00/hr

                                                   prepare stipulation re service on
                        Taiwu; confer with opposing counsel (K. Mun) re same;
                        analyze motion for

                                                                  follow up with V.
                        Powers (Amazon's counsel) re stipulation on Amazon's
                        production and timetable for same; draft follow-up
                        correspondence to Amazon.

  5/25/2017 JN   A103   Continue drafting and revising motion for sanctions, relating        3.70       832.50
                        to failure to appear at mediation and violation of                 225.00/hr
                        confidentiality agreement; confer with D. Kadin re same.

           BM    A103   Further review and analyze prior art publications and patents        5.30    NO CHARGE
                        referenced by Defendants and                                       365.00/hr
                               conduct research re Section 103 non-obviousness

                                      ; further prepare motion for summary
                        judgment


           DK    A104   Review Klein, O'Neill & Singh                         review         6.30      2,047.50
                        and revise Klein, O'Neill & Singh proposed edits to third party    325.00/hr
                        subpoena objections; telephone call with D. Cavanagh of
                        Klein, O'Neill & Singh re      ; telephone call with S. Dang re
                                                          .

           WS    A102   Assist J. Nafekh with researching issues related to                  0.70       136.50
                        Defendant's failure to appear at mediation per G. Ruttenberg.      195.00/hr

           WS    A110                                                                        3.90    NO CHARGE
                                                                                           195.00/hr


           GR    A103   Further discussions with W. Pak (Cislo & Thomas) re                  0.80       460.00
                                                  revise objections on behalf of Klein,    575.00/hr
                        O'Neill & Singh in response to Defendants' third-party
                        subpoena to former prosecution firm; draft correspondence
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                                                                                          Hrs/Rate      Amount

                        re amended pleading; revise draft motion to compel, and
                        confer with team members re same.

  5/25/2017 DK   A103   Review and revise motion for sanctions, case law re same,            3.00       975.00
                        correspondence with opposing counsel re same and earlier           325.00/hr
                        factual and procedural background of Defendants' litigation
                        behavior.

           GR    A103   Review and revise motion for sanctions.                              1.00       575.00
                                                                                           575.00/hr

  5/26/2017 JN   A105   Confer with D. Kadin regarding motion for sanctions.                 0.90       202.50
                                                                                           225.00/hr

           BM    A103   Further prepare motion for summary judgment, including               2.70    NO CHARGE
                                                                                           365.00/hr




                                                           .

           DK    A103   Review, revise and finalize motion for sanctions; review case        5.00      1,625.00
                        law cited in motion for sanctions; conduct supplemental            325.00/hr
                        research re



           WS    A103   Assist D. Kadin with finalizing, filing and serving Motion for       6.60    NO CHARGE
                        Sanctions and Motion to Compel Discovery per G.                    195.00/hr
                        Ruttenberg; draft, revise and organize documents to be filed
                        in support of same.

           GR    A103   Analyze motion to dismiss and                                        2.00      1,150.00
                                              review and analyze Amazon's production,      575.00/hr
                        issues relating to                                         ;
                        further analysis of third-party subpoenas from Defendants;
                        revise motion to compel, and confer with team members re
                        same.

           DK    A103   Review, revise and serve Klein, O'Neill & Singh objections to        4.60      1,495.00
                        third party subpoena and telephone call with D. Cavangh re         325.00/hr
                               review, revise and finalize plaintiff's portion of joint
                        stipulation re motion to compel.

           GR    A103   Revise motion for sanctions; confer with D. Kadin re same.           1.50       862.50
                                                                                           575.00/hr

  5/29/2017 DK   A104   Review Defendants' reply in support of motion to dismiss             0.20        65.00
                        Defendants Zake International and 3BTech, Inc.                     325.00/hr
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                                                                                         Hrs/Rate      Amount

  5/29/2017 GR   A104   Review Drop Stop's opposition to motion to dismiss/strike;          0.30       172.50
                        review Drop Stop's reply in support of motion to dismiss.         575.00/hr

  5/30/2017 JN   A103                                                                       3.60       810.00
                                                                                          225.00/hr


           BM    A103   Confer with G. Ruttenberg re                                        4.90    NO CHARGE
                                                  ; further prepare draft motion for      365.00/hr
                        summary judgment, including




           DK    A104   Review Defendants' opposition to plaintiff's motion to dismiss      4.40      1,430.00
                        counterclaims and strike affirmative defenses; confer with G.     325.00/hr
                        Ruttenberg and J. Nafekh re same; conduct research re
                                                                         review and
                        revise deposition notices.

           WS    A103   Assist J. Nafekh with drafting and revising reply brief re          1.10    NO CHARGE
                        motion to dismiss and strike; download and organize cases         195.00/hr
                        cited in opposition to motion to dismiss.

           GR    A104   Follow up correspondence with W. Pak and D. Cislo re                1.80      1,035.00
                                             ; confer with opposing counsel (K. Mun)      575.00/hr
                        re motion to compel; analyze Drop Stop's production of
                        documents in response to Defendants' requests; analyze


  5/31/2017 WS   A110   Prepare                           documents for production          2.50    NO CHARGE
                        per D. Kadin.                                                     195.00/hr

           WS    A110   Organize and OCR documents produced by Defendants per               2.20    NO CHARGE
                        D. Kadin.                                                         195.00/hr

           WS    A103   Assist D. Kadin with drafting deposition notice to R.               0.50        97.50
                        MacMillan; assist with                   re same.                 195.00/hr

           DK    A104   Review Defendants' supplemental interrogatory responses             4.50      1,462.50
                        (set one) and responses to requests for production (set one);     325.00/hr
                        review Defendants' document production; review R.
                        MacMillan responses to third party subpoena; review and
                        finalize Plaintiff's document production.

           JN    A103   Begin drafting reply brief ISO motion to dismiss                    4.90      1,102.50
                        counterclaims and affirmative defenses.                           225.00/hr
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                                                                                             Hrs/Rate         Amount

  5/31/2017 GR      A104    Analyze MacMillan's response to document subpoena, and               0.80         460.00
                            confer with D. Kadin re same; analyze deposition subpoena          575.00/hr
                            for MacMillan; analyze preliminary production and
                            supplemental discovery responses                  .

                For professional services rendered                                             353.10      $88,964.50

            Additional Charges :

   5/8/2017 Fee to obtain Heguang International Group Ltd. Corporate Status Information; Delaware              10.00
            Secretary of State

            Fee to obtain Heguang International LLC Corporate Status Information; Delaware Secretary           10.00
            of State

   5/9/2017 Attorney Service Fee to Deliver Courtesy Copy of Joint Stipulation to File First Amended           46.80
            Complaint & First Amended Complaint - US District Court in Santa Ana, CA; Nationwide
            Legal, Invoice No. 153223

  5/17/2017 Attorney Service Fee to Serve Subpoena to Produce Documents to Richard S. MacMillan in            312.50
            Toledo, OH; First Legal Network LLC, Invoice No. 10093552

  5/22/2017 Attorney Service Fee to Deliver Courtesy Copy of Opposition to Motion to Dismiss - US              28.10
            District Court in Santa Ana, CA; Nationwide Legal, Invoice No. 153714

            Attorney Service Fee to Deliver Courtesy Copy of Notice of Motion to Dismiss & Strike - US         31.40
            District Court in Santa Ana, CA; Nationwide Legal, Invoice No. 153714

  5/30/2017 Attorney Service Fee to Deliver Courtesy Copy of Motion for Sanctions - US District Court in       41.00
            Santa Ana, CA; Nationwide Legal, Invoice No. 153714

  5/31/2017 Photocopies of case related documents - May 2017                                                   18.80

            Court Fees to download case related documents - May 2017; Pacer                                    28.00

            Online Research - May 2017; Westlaw                                                               941.94

                Total additional charges                                                                    $1,468.54


                Total amount of this bill                                                                  $90,433.04
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                                 Ruttenberg
                                        #:4450IP Law
                                              A Professional Corporation
                                          1801 Century Park East, Suite 1920
                                               Los Angeles, CA 90067
                                                  EIN #
                                                   (310) 627-2270

Invoice submitted to:
Drop Stop LLC
Jeffrey Simon, Co-President




August 23, 2017

Invoice #          10413
Firm Matter No.:   1128-100           Patent Infringment


            Professional Services

                                                                                             Hrs/Rate     Amount

  6/1/2017 JN      A102    Begin research                                                       1.80       405.00
                                            ; continue research regarding                     225.00/hr
                                                                  ; finish drafting Reply
                           ISO motion to dismiss and strike counterclaims and
                           affirmative defenses.

            BM     A103    Review and revise draft motion for summary judgment,                 1.70    NO CHARGE
                           including portions relating to                                     365.00/hr


            DK     A103    Draft and finalize meet and confer letter re R. MacMillan            9.70      3,152.50
                           subpoena responses; review and revise reply brief in support       325.00/hr
                           of plaintiff's motion to dismiss counterclaims and strike
                           affirmative defenses; conduct supplemental research re
                           same; confer with G. Ruttenberg re
                                                ; telephone conference with G. Ruttenberg
                           and S. Dang re

            WS     A103    Assist D. Kadin with research regarding filing a motion              2.30    NO CHARGE
                                           assist with drafting deposition documents re       195.00/hr
                           R. MacMillan.

            GR     A104    Analyze                                             ; confer         1.50       862.50
                           with D. Kadin re case strategy and outstanding discovery           575.00/hr
                           issues; draft correspondence to W. Pak and D. Cislo (Cislo &
                           Thomas)

  6/2/2017 JN      A102    Edit draft of reply brief ISO motion to dismiss counterclaims        4.40       990.00
                           and strike affirmative defenses; research                          225.00/hr
                                                        ; begin drafting motion to dismiss
                           Defendants Answer responding to Drop Stop's FAC.
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                                                                                          Hrs/Rate      Amount

   6/2/2017 DK   A104   Review Defendants' responses to requests for production of           4.40      1,430.00
                        documents and compile                                              325.00/hr
                                                                          l; review and
                        revise reply brief in support of plaintiff's motion to
                        dismiss/strike first amended
                        answer/counterclaims/affirmative defenses; conduct
                        supplemental research re

                                                  ; review and revise draft
                        memorandum in support of motion to dismiss/strike answer,
                        affirmative defenses and counterclaims to first amended
                        complaint.

           BM    A103   Conduct additional investigation re invalidity claims regarding      0.90    NO CHARGE
                        '291 Patent; further review draft motion for summary               365.00/hr
                        judgment,

           WS    A103   Assist D. Kadin and J. Rafekh with researching and drafting          1.50        292.50
                        Reply in Support of Motion to Dismiss, Strike.                     195.00/hr

   6/5/2017 JN   A102   Continue drafting memorandum ISO Motion to Dismiss                   4.90      1,102.50
                        Defendants' Answer to FAC; confer with D. Kadin re same;           225.00/hr
                        compare Defendant Taiwu's Answer with Defendants'
                        Answer to FAC; begin planning and preparing reply brief ISO
                        Motion for Sanctions; confer with D. Kadin re same; begin
                        research regarding
                        Obviousness

           DK    A103   Review, revise and finalize deposition notices for J. Zhu, L.       11.10      3,607.50
                        Lim, R. MacMillan, 3BTech, Zake USA/Int'l, Shenzhen,               325.00/hr
                        Taiwu, R. Johnson and Y. Wang; telephone conference with
                        G. Ruttenberg, B. Choka and R. MacMillan re third party
                        subpoena to R. MacMillan and deposition; emails with
                        opposing counsel re various issues; review Defendants'
                        opposition to plaintiff's motion for sanctions; confer with J.
                        Nafekh re same; review and revise reply in support of
                        plaintiff's motion to dismiss/strike; conduct research re same;
                        review and revise motion to compel re unilateral filing as
                        opposed to joint stipulation.

           WS    A103   Assist D. Kadin and G. Ruttenberg with finalizing, filing and        6.20      1,209.00
                        serving Reply in Support of Motion to Dismiss, Strike.             195.00/hr

           WS    A103   Assist D. Kadin and G. Ruttenberg with drafting and revising         2.80        546.00
                        Motion to Compel and documents to be filed in support of           195.00/hr
                        same; convert Motion to Compel to unilateral version in light
                        of developments with opposing counsel per G. Ruttenberg.

           WS    A103   Begin drafting responses to discovery propounded by Taiwu            0.80        156.00
                        Keji Co. per D. Kadin.                                             195.00/hr
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                                                                                             Hrs/Rate      Amount

   6/5/2017 GR   A103   Finalize reply re motion to dismiss/strike; analyze Defendants'         4.00      2,300.00
                        reply in support of their motion to dismiss; telephone                575.00/hr
                        conference with B. Choka and R. MacMillan; analyze
                                                              ; further analysis of
                        Defendants' subpoenas to third-party law firms that previously
                        represented Drop Stop; confer with clients re
                              .

   6/6/2017 JN   A102   Begin research regarding                                                6.90      1,552.50
                        relating to prior patent prosecution counsel; begin research          225.00/hr
                        regarding
                                         ; begin drafting and revising Reply ISO Motion
                        for Sanctions.

           DK    A103   Review, revise and finalize joint stipulation re motion to              7.10      2,307.50
                        compel; confer with G. Ruttenberg re same; emails with                325.00/hr
                        opposing counsel re same; emails with opposing counsel re
                        meet and confer regarding third party subpoena; review and
                        revise draft reply in support of plaintiff's motion for sanctions;
                        review re-served third party deposition subpoena to Cislo &
                        Thomas; draft and finalize Plaintiff's objections re same; draft
                        portions of motion for protective order; conduct preliminary
                        research re same; review


           JL    A110   Assist with reviewing and preparing information and                     0.60    NO CHARGE
                        documents re fees and costs incurred preparing for/attending          115.00/hr
                        mediation and for bringing motion for sanctions, to be used in
                        motion for sanctions.

           WS    A103   Assist D. Kadin and G. Ruttenberg with further revisions to             6.80      1,326.00
                        Motion to Compel; adjust documents per discussions with               195.00/hr
                        opposing counsel; create redline comparison of defendants'
                        edits per G. Ruttenberg; file and serve same.

           GR    A103   Further discussion with opposing counsel re motion to                   3.80      2,185.00
                        compel; finalize same; further analysis of subpoenas for              575.00/hr
                        documents and deposition to Cislo & Thomas, and objections
                        to same; review and revise further objections to Defendants'
                        revised subpoena to Cislo &Thomas.

   6/7/2017 JN   A102   Continue research regarding protective orders; continue                 4.10        922.50
                        drafting and revising Reply ISO Motion for Sanctions; confer          225.00/hr
                        with D. Kadin re same.

           DK    A103   Draft motion for protective order re Cislo & Thomas                     8.20      2,665.00
                        deposition; conduct research re same; review                          325.00/hr
                                                         ; confer with G. Ruttenberg
                        re
                                                                          ; confer with
                        J. Nafekh re reply in support of motion for sanctions; review
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                                                                                          Hrs/Rate      Amount

                        and revise same; prepare meet and confer letter to opposing
                        counsel re deficient supplemental document production.

   6/7/2017 WS   A103   Assist D. Kadin with researching issues related to motions for       2.30    NO CHARGE
                        protective order in Ohio and Central District of California;       195.00/hr
                        review federal and local rules re same.

           GR    A104   Confer with D. Kadin re                         subpoenaed           2.80      1,610.00
                        law firms; meet and confer with opposing counsel (A. Riley         575.00/hr
                        and L. Mei) re third party subpoenas; analyze possible
                        discovery motions; analyze depositions notices served by
                        Defendants, including 30(b)(6) notice; analyze deficiency
                        letter, and confer with D. Kadin re same.

   6/8/2017 JN   A102   Continue                                 for designating             7.80      1,755.00
                        mediation representative; begin research                           225.00/hr
                                                                             for a
                        patent infringement claim; review draft of Reply ISO Motion
                        for Sanctions; begin research regarding violations of
                        scheduling order and non-compliance with discovery
                        requests; confer with D. Kadin re same.

           BM    A104                                                                        0.20    NO CHARGE
                                                                                           365.00/hr

           DK    A103   Review and revise reply in support of motion for sanctions;          3.60      1,170.00
                        confer with J. Nafekh re reply in support of motion for            325.00/hr
                        sanctions.

           WS    A103   Assist D. Kadin with initial drafting of objection to notice of      1.60    NO CHARGE
                        30(b)(6) deposition to Drop Stop.                                  195.00/hr

           WS    A110                                                                        0.50    NO CHARGE
                                    .                                                      195.00/hr

           WS    A108   Confer with court reporter re order and delivery of scheduling       1.10    NO CHARGE
                        conference transcript per G. Ruttenberg.                           195.00/hr

           DK    A103   Draft objections to 30(b)(6) deposition of Drop Stop LLC;            3.60      1,170.00
                        draft portion of motion for protective order; conduct research     325.00/hr
                        re same and analyze impropriety of Defendant propounding
                        discovery after scheduling order deadline; telephone
                        conference with G. Ruttenberg, L. Mei and A. Riley re Klein,
                        O'Neill and Singh third party subpoena, Cislo & Thomas
                        deposition and other discovery issues.

           GR    A104   Telephone conference with clients re                                 3.50      2,012.50
                                                                ; telephone                575.00/hr
                        conference with opposing counsel (K. Mun and L. Mei) re
                        meet-and-confer on discovery issues; analyze summary
                        judgment motion,
                                                                            ; draft
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                                                                                           Hrs/Rate      Amount

                        follow-up correspondence re same; confer with D. Kadin re
                        sanctions reply brief; confer with S. Dang (former Drop Stop
                        prosecution counsel) and opposing counsel (L. Mei) re
                        subpoena to S. Dang; analyze sales shown in Amazon
                        documents.

   6/9/2017 JN   A102   Continue research regarding propounding discovery after               2.80        630.00
                        deadline and attorney's fees related to Motion to Compel            225.00/hr
                        where other party complied after Motion was served.

           BM    A104   Review correspondence between counsel re                              0.10    NO CHARGE
                        f                                                                   365.00/hr

           DK    A103   Draft and revise motion for protective order; conduct research        6.50      2,112.50
                        re                                                                  325.00/hr
                                                      , and


                                                      ; review K. Mun meet and confer
                        letter re Plaintiff's discovery responses and review Plaintiff's
                        discovery responses; confer with G. Ruttenberg re same, and



           WS    A103   Assist D. Kadin with fact investigation and research re               2.70        526.50
                        sanctions reply brief; assist D. Kadin with cite checking           195.00/hr
                        declaration in support of same.

           WS    A103   Begin drafting responses to Taiwu's requests for admission            1.50        292.50
                        per D. Kadin.                                                       195.00/hr

           DK    A103   Calculate attorney's fees for reply in support of motion for          0.50        162.50
                        sanctions; draft declaration of G. Ruttenberg in support of         325.00/hr
                        same.

           GR    A108   Draft settlement correspondence to opposing counsel;                  3.30      1,897.50
                        various correspondence with opposing counsel (L. Mei) re            575.00/hr
                        outstanding discovery issues; confer with subpoenaed Drop
                        Stop counsel re                    ; various correspondence
                        with Magistrate Judge Segal's clerk and opposing counsel re
                        informal discovery request; analyze expert reports; confer
                        with opposing re expert disclosure deadlines.

  6/12/2017 JN   A102   Begin research regarding defendants added late and                    1.60        360.00
                                                                                            225.00/hr

                             ; confer with D. Kadin re same.

           DK    A103   Conduct supplemental research re                                      4.50      1,462.50
                                                                                            325.00/hr
                             ; telephone conference with G. Ruttenberg, L. Mei and
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                                                                                         Hrs/Rate      Amount

                        A. Riley re various discovery issues; draft stipulation re
                        discovery response deadlines.

  6/12/2017 WS   A103   Assist G. Ruttenberg and D. Kadin with further edits to Reply       6.30      1,228.50
                        in Support of Motion for Sanctions; finalize, file and serve      195.00/hr
                        same.

           WS    A108   Confer with court reporter service re upcoming depositions.         0.30    NO CHARGE
                                                                                          195.00/hr

           DK    A103   Review, revise and finalize reply in support of motion for          4.40      1,430.00
                        sanctions and G. Ruttenberg declaration in support thereof.       325.00/hr

           GR    A103   Meet and confer with K. Mun re discovery issues and prepare         3.50      2,012.50
                        for same; review and edit reply brief in support of sanctions     575.00/hr
                        motion.

  6/13/2017 BM   A104                                                                       1.80    NO CHARGE
                                                                                          365.00/hr




           JN    A102                                                                       2.00        450.00
                                                                                          225.00/hr


           DK    A103   Review and revise stipulation re discovery response                10.40      3,380.00
                        deadlines; review Taiwu supplemental document production          325.00/hr
                        and prepare notes re same; telephone conference with G.
                        Ruttenberg, K. Mun and A. Riley re deposition schedule,
                        expert disclosure deadline and stipulation; prepare 6/15/2017
                        discovery hearing binder with W. Stevens; draft stipulation re
                        expert disclosure deadlines; draft, revise and finalize
                        supplemental brief in support of plaintiff's motion to compel
                        discovery.

           WS    A103   Assist G. Ruttenberg and D. Kadin with drafting, filing and         6.20      1,209.00
                        serving Supplemental Brief in Support of Motion to Compel         195.00/hr
                        and documents in support of same.

           WS    A110   Assist D. Kadin with preparing binder of materials for June         2.60    NO CHARGE
                        15, 2017 discovery conference call with Magistrate Segal.         195.00/hr

           GR    A103   Meet and confer re 30(b)(6) depositions and other                   5.50      3,162.50
                        scheduling; review Defendants' supplemental brief re MTC;         575.00/hr
                        draft supplemental brief re same; draft and revise proposed
                        stipulation re motion to compel and other discovery issues,
                        and correspondence with opposing counsel re same; further
                        analysis                   in preparation for deposition of
                        Defendants' opinion-of-counsel drafter (R. MacMillan).
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                                                                                           Hrs/Rate      Amount

  6/14/2017 BM   A104   Confer with D. Kadin re status of discovery; review Plaintiff's       0.40    NO CHARGE
                        supplemental memorandum in support of motion to compel              365.00/hr
                        discovery; review production notes prepared by D. Kadin.

           JN    A101   Continue drafting and editing hearing outline for Motion for          2.80        630.00
                        Sanctions.                                                          225.00/hr

           DK    A103   Draft, revise and finalize supplemental brief in support of           5.70      1,852.50
                        plaintiff's motion to compel discovery; prepare outline for         325.00/hr
                        6/19/2017 hearing re plaintiff's motion to dismiss
                        counterclaims and strike affirmative defenses and compile
                        relevant case law for use in binder; review J. Nafekh outline
                        re motion for sanctions; finalize stipulation re expert
                        disclosure deadline; prepare and

                                   re third party subpoenas.

           JL    A103   Prepare, review, revise and finalize engagement letters to            0.80    NO CHARGE
                        third parties Cislo & Thomas LLP, Sang Dang and Klein,              115.00/hr
                        O'Neill & Singh, LLP.

           WS    A103   Assist G. Ruttenberg and D. Kadin with drafting, filing and           1.30    NO CHARGE
                        serving Supplemental Brief in Support of Motion to Compel           195.00/hr
                        and documents in support of same.

           WS    A103   Assist D. Kadin with revising, filing and serving Joint               0.50    NO CHARGE
                        Stipulation re Expert Disclosures.                                  195.00/hr

           WS    A110   Assist D. Kadin with finalizing binder of materials for June 15,      1.10    NO CHARGE
                        2017 discovery conference call with Magistrate Segal.               195.00/hr

           WS    A108   Confer with court reporter service re upcoming depositions.           0.30    NO CHARGE
                                                                                            195.00/hr

           WS    A110   Assist D. Kadin with preparing binders of briefing, cases and         0.80    NO CHARGE
                        attorney analysis for upcoming June 19, 2017 discovery              195.00/hr
                        hearing .

           GR    A104   Evaluate                         technical experts.                   1.50        862.50
                                                                                            575.00/hr

  6/15/2017 DK   A109   Appear for L. Lim and R. Johnson deposition                           6.90      2,242.50
                        non-appearances; attend telephonic discovery conference             325.00/hr
                        with G. Ruttenberg, A. Riley, L. Mei, W. Pak and S. Segal re
                        third party discovery and other discovery issues; draft R.
                        MacMillan deposition outline and review relevant documents
                        for use in same; prepare outline for 6/19/2017 hearing on
                        Defendants' motion to dismiss and review relevant pleadings
                        for use in same; coordinate with W. Stevens and J. Nafekh re
                        preparing binders for 6/19/2017 hearings; review and finalize
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                                                                                            Hrs/Rate      Amount

                        production of third party discovery from eBay, Amazon and R.
                        MacMillan.

  6/15/2017 JN   A101   Continue preparing binder for hearing on Motion for                    1.80    NO CHARGE
                        Sanctions and Motion to Dismiss.                                     225.00/hr

           BM    A104   Confer with D. Kadin and other team members re status of               0.20    NO CHARGE
                        discovery and other issues.                                          365.00/hr

           WS    A101   Assist D. Kadin with preparing set of exhibits for MacMillan           1.50    NO CHARGE
                        deposition; assist D. Kadin with revising deposition outline re      195.00/hr
                        same.

           WS    A110   Assist D. Kadin with preparing and finalizing third-party              1.50        292.50
                        productions from Ebay, Amazon and R. MacMillan for                   195.00/hr
                        production and exchange.

           WS    A110   Assist D. Kadin with preparing binders of briefing, cases and          2.70    NO CHARGE
                        attorney analysis for upcoming June 19, 2017 discovery               195.00/hr
                        hearing.

           GR    A108   Participate in informal telephonic discovery conference with           4.00      2,300.00
                        Judge Segal; prepare for same; draft follow-up email re              575.00/hr
                        same; analyze responses to third-party subpoenas issued by
                        Defendants, and confer with team members and clients re
                        same; analyze supplemental discovery responses re
                        damages issues; exchange various correspondence with
                        opposing counsel (A. Riley) re possible stipulation re joint and
                        several liability of all defendants.

  6/16/2017 BM   A103   Confer with D. Kadin re possible filing of motion                      5.90    NO CHARGE
                        j                                     ; review and analyze           365.00/hr
                        Taiwu's Answer, including affirmative defenses and
                        counterclaim; review and revise draft motion for summary
                        judgment (all portions); further review of prior art references
                        cited by Defendants and conduct research re invalidity
                        issues; prepare                                                 .

           DK    A105   Confer with G. Ruttenberg and J.Nafekh re 6/19/2017                    3.00        975.00
                        hearing on Defendants' motion to dismiss and Plaintiff's             325.00/hr
                        motion to dismiss; finalize binders and materials for use in
                        same; confer with G. Ruttenberg re Magistrate Judge Segal's
                        minute order, review and revise request for clarification re
                        same and review pertinent discovery requests and responses
                        re same; review Judge Guilford tentative order; review and
                        annotate documents for use in R. MacMillan deposition;
                        telephone conference with S. Blum re potential engagement;
                        draft correspondence to client re
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                                                                                           Hrs/Rate      Amount

  6/16/2017 WS   A110   Assist D. Kadin with preparing binders of briefing, cases and         3.30    NO CHARGE
                        attorney analysis for upcoming June 19, 2017 discovery              195.00/hr
                        hearing .

           JN    A102   Continue research regarding the addition of new claims by a           3.70        832.50
                        new Defendant; continue research regarding pleading                 225.00/hr
                        Inequitable Conduct; confer with G. Ruttenberg and D. Kadin
                        re same.

           GR    A101   Analyze Court's orders re status conference; draft                    3.00      1,725.00
                        correspondence to Court re same; confer with opposing               575.00/hr
                        counsel re same; prepare for hearing on motion to dismiss;
                        analyze tentative Order re motions to dismiss.

  6/18/2017 DK   A102   Conduct research re newly added Defendant adding new                  3.00        975.00
                        arguments/counterclaims/affirmative defenses after                  325.00/hr
                        scheduling order deadline, and research re striking written
                        description invalidity argument based on
                                                                         ; confer with
                        J. Nafekh re dismissing inequitable conduct claim based on
                                                                               ;
                        confer with G. Ruttenberg re same.

           JN    A102                                                               .         3.00        675.00
                                                                                            225.00/hr

           GR    A101   Prepare for hearing on parties' respective motions to dismiss;        1.50        862.50
                        further analysis of issues raised in tentative Order; review        575.00/hr
                        additional cases located by D. Kadin.

  6/19/2017 WS   A101   Assist D. Kadin and J. Nafekh with final preparations for             0.80        156.00
                        discovery hearing.                                                  195.00/hr

           WS    A101   Assist D. Kadin with preparing set of exhibits for MacMillan          2.10        409.50
                        deposition; assist D. Kadin with revising deposition outline re     195.00/hr
                        same.

           DK    A109   Attend hearing on Defendants' motion to dismiss and                   3.80      1,235.00
                        Plaintiff's motion to dismiss and strike; conduct supplemental      325.00/hr
                        research re pleading inequitable conduct; meet with G.
                        Ruttenberg re R. MacMillan deposition and review exhibits for
                        use in same; research
                                                                    ; review Defendants'
                        responses to second and third sets of interrogatories.

           GR    A109   Attend hearing on motions to dismiss/strike; prepare for              3.30      1,897.50
                        same; prepare for MacMillan deposition; analyze discovery           575.00/hr
                        responses from Defendants; review and analyze Defendants'
                        privilege log; correspond with Defendants' counsel re
                        privilege log and withheld MacMillan communications.
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                                                                                              Hrs/Rate      Amount

  6/20/2017 BM   A104   Review and analyze Defendants responses to various                       0.70    NO CHARGE
                        discovery requests, including portions relating to specific            365.00/hr
                        features of ChiTronic product and relationship between
                        Defendants.

           DK    A104   Review Defendants' supplemental document production and                  7.70      2,502.50
                        correspondence with R. MacMillan for use in deposition of              325.00/hr
                        same; attend R. MacMillan deposition; conduct supplemental
                        research                    ; draft and revise motion for
                        summary judgment re infringement arguments.

           WS    A101   Assist D. Kadin with final preparations for MacMillan                    3.30    NO CHARGE
                        deposition; coordinate pickup of deposition exhibits re same.          195.00/hr

           WS    A103   Assist D. Kadin with drafting and revising Motion for                    0.50        97.50
                        Summary Judgment.                                                      195.00/hr

           GR    A109   Take deposition of R. MacMillan; prepare for same; further               4.00      2,300.00
                        analysis of                   ; draft various correspondence to        575.00/hr
                        Defendants' counsel (A. Riley) re settlement, per Court's
                        Order; exchange correspondence with Defendants' counsel
                        (L. Mei) re Defendants' supplemental production and privilege
                        log; further correspondence and negotiations with opposing
                        counsel (A. Riley) re stipulation as to joint and several liability
                        of all Defendants.

  6/21/2017 BM   A104   Review and analyze Order re Motions to Dismiss; confer with              0.80    NO CHARGE
                        D. Kadin re Court's Order, as well as re                               365.00/hr


           RN    A102                                                                            1.00    NO CHARGE
                                                       .                                       225.00/hr

           DK    A103   Review A. Guilford order on Defendants' motion to dismiss                6.50      2,112.50
                        and Plaintiff's motion to dismiss/strike;                              325.00/hr
                                                     draft and revise motion for
                        summary judgment re


                                                                     ; conduct research
                        re same.

           WS    A103   Assist D. Kadin with drafting and revising Motion for                    0.60    NO CHARGE
                        Summary Judgment.                                                      195.00/hr

           GR    A104   Analyze potential stipulation with Defendants re joint and               0.50       287.50
                        several liability; confer with opposing counsel (A. Riley) re          575.00/hr
                        same; further analysis re Defendants' subpoenas to
                        third-party prosecution counsel; confer with opposing counsel
                        re depositions and subpoenas.
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                                                                                              Hrs/Rate      Amount

  6/22/2017 RN   A102                                                                            2.40    NO CHARGE
                                                                                               225.00/hr

           JN    A102                                                                            0.40        90.00
                                                                                               225.00/hr

           DK    A103   Draft and revise motion for summary judgment re no invalidity            7.00      2,275.00
                        arguments; review Defendants' invalidity arguments and                 325.00/hr
                        obviousness references; confer with B. Madanat re same;
                        telephone call with G. Ruttenberg, J. Simon and M.
                        Newburger re
                                     ; confer with G. Ruttenberg re motion for

                                          ; review and revise stipulation re liability of
                        parties.

           BM    A102   Confer with D. Kadin re status of MSJ, including                         1.60    NO CHARGE
                                                                                               365.00/hr




           WS    A101   Assist D. Kadin with preparing binder of background                      2.20    NO CHARGE
                        materials for 6/26/2017 hearing.                                       195.00/hr

           WS    A108   Confer with court reporter services regarding status of                  0.40    NO CHARGE
                        depositions.                                                           195.00/hr

           GR    A104   Various correspondence with opposing counsel re discovery                5.00      2,875.00
                        disputes; analyze damages report, confer with S. Blum re               575.00/hr
                        same; telephone conference with clients; analyze MSJ and
                        expert reports; draft stipulation re joint and several liability of
                        all defendants and withdrawal of related discovery requests.

  6/23/2017 BM   A104   Review and analyze sanctions Order issued by Court; confer               1.90    NO CHARGE
                        with D. Kadin re                 prior art references                  365.00/hr




           JN    A102                                                                            6.20      1,395.00
                                                                                               225.00/hr




           WS    A110   Assist D. Kadin with finalizing binders for 6/26/2017 hearing.           1.50    NO CHARGE
                                                                                               195.00/hr
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                                                                                          Hrs/Rate      Amount

  6/23/2017 WS   A108   Confer with court reporter services regarding status of              0.30    NO CHARGE
                        depositions.                                                       195.00/hr

           WS    A110   Assist D. Kadin with gathering documents requested by                2.10       409.50
                        damages expert.                                                    195.00/hr

           RN    A102                                                                        0.50    NO CHARGE
                                                                                           225.00/hr

           DK    A103   Draft motion for summary judgment re non-obviousness                 8.50      2,762.50
                        arguments; review prior art references cited by Defendants         325.00/hr
                        and search for translations of Japanese references; confer
                        with B. Madanat re same; conduct research re summary
                        judgment re
                                                  ; confer with G. Ruttenberg re
                        motion for sanctions hearing; finalize documents for
                        6/26/2017 hearing on motion for sanctions; prepare S. Blum
                        expert disclosure.

           GR    A104   Confer with clients and S. Blum re damages information;              3.00      1,725.00
                        analyze Defendants' obviousness references; further analysis       575.00/hr
                        of stipulation re identity of defendants, and negotiate same
                        with Defendants' counsel; confer with opposing counsel re
                        discovery requests relating to damages; analyze tentative
                        Order re sanctions motion; draft correspondence to
                        Defendants' counsel re settlement discussions, willfulness
                        finding and damages reports.

  6/24/2017 GR   A107   Various email exchanges with opposing counsel re expert              1.50       862.50
                        disclosures, settlement and proposed stipulations on               575.00/hr
                        damages; confer with clients re
                                                .

  6/25/2017 GR   A104   Further discussions with opposing counsel re settlement              2.30      1,322.50
                        structure; further analysis of outstanding discovery disputes,     575.00/hr
                        and potential stipulations to resolve same; confer with clients
                        re
                                   .

  6/26/2017 BM   A105                                                                        0.10    NO CHARGE
                                                                                           365.00/hr

           JN    A102                                                                        6.40      1,440.00
                                                                                           225.00/hr



           DK    A109   Attend hearing on Motion for Sanctions; review Plaintiff's           9.00      2,925.00
                                                                                     ;     325.00/hr
                        confer with G. Ruttenberg re
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                                                                                          Hrs/Rate      Amount

                               for use in supplemental response to interrogatory no.
                        8; confer with S. Blum re same and re calculations.

  6/26/2017 WS   A101   Assist D. Kadin and G. Ruttenberg with final preparations for        1.60       312.00
                        6/26/2017 hearing.                                                 195.00/hr

           WS    A103   Assist D. Kadin with drafting and revising expert reports of S.      3.20       624.00
                        Blum and D. Smith; assist D. Kadin with distributing relevant      195.00/hr
                        documents to experts re same; assist D. Kadin with drafting
                        Protective Order Agreements re same.

           WS    A101   Assist D. Kadin with preparing binder of materials for June          2.00    NO CHARGE
                        27, 2017 discovery hearing.                                        195.00/hr

           WS    A101   Assist D. Kadin with drafting, finalizing and serving                3.10       604.50
                        supplemental discovery responses per G. Ruttenberg.                195.00/hr

           GR    A109   Attend hearing re motion for sanctions; prepare for same;            5.50      3,162.50
                        correspond with opposing counsel re expert reports; analyze        575.00/hr
                        damages supplemental information; various discussions and
                        email exchanges with client (M. Dare) re                  ;
                        prepare for hearing before Magistrate Judge Segal on
                        discovery issues; analyze damages report, and confer with
                        expert (S. Blum) re same.

  6/27/2017 JN   A102                                                                        1.60       360.00
                                                                                           225.00/hr

           DK    A109   Attend hearing on motion to compel; multiple telephone calls         7.10      2,307.50
                        with expert witness D. Smith re case assignment and                325.00/hr
                        logistical matters; finalize materials to send to D. Smith
                        including product samples, discovery documents and
                        pleadings; review S. Blum draft expert report; review and
                        revise motion for summary judgment re willfulness argument,
                        review



           WS    A103   Assist D. Kadin with further drafting and revising expert            3.60       702.00
                        reports of S. Blum and D. Smith; assist D. Kadin with              195.00/hr
                        distributing relevant documents to experts re same.

           WS    A101   Assist D. Kadin with final preparations for June 27, 2017            0.60    NO CHARGE
                        discovery hearing.                                                 195.00/hr

           WS    A103   Assist D. Kadin with further drafting and revisions to Motion        3.00    NO CHARGE
                        for Summary Judgment and exhibits and documents to be              195.00/hr
                        filed in support of same.

           JL    A110   Assist D. Kadin with preparing and finalizing sample products        0.20    NO CHARGE
                        and other documents to be sent to expert D. Smith.                 115.00/hr
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                                                                                         Hrs/Rate      Amount

  6/27/2017 GR   A109   Attend hearing on discovery issues; prepare for same;               6.50      3,737.50
                        communicate with clients re same; analyze supplemental            575.00/hr
                        discovery responses relating to damages issues; analyze and
                        revise expert engagement agreement for technical expert,
                        and confer with expert re same; revise and analyze summary
                        judgment motion; correspond with opposing counsel (A.
                        Riley) re Defendants' discovery requests.

  6/28/2017 BM   A104   Review and analyze Court's Order re motion to compel.               0.10    NO CHARGE
                                                                                          365.00/hr

           DK    A103   Review and revise motion for summary judgment; review and          10.50      3,412.50
                        revise D. Smith draft expert report; confer with G. Ruttenberg    325.00/hr
                        re motion for summary judgment and expert reports;
                        communicate with D. Smith; review various documents used
                        as support for motion for summary judgment and expert
                        report; conduct research re


           JN    A104   Continue revising and reviewing Motion for Summary                  1.20       270.00
                        Judgment.                                                         225.00/hr

           WS    A108   Confer with court reporter service re status of MacMillan           0.70    NO CHARGE
                        transcript.                                                       195.00/hr

           WS    A103   Assist D. Kadin with further drafting and revising expert           2.50       487.50
                        reports of S. Blum and D. Smith; assist D. Kadin with             195.00/hr
                        distributing relevant documents to experts re same.

           WS    A103   Assist D. Kadin with further drafting and revisions to Motion       2.50       487.50
                        for Summary Judgment and exhibits and documents to be             195.00/hr
                        filed in support of same.

           GR    A104   Analyze draft MSJ; analyze draft expert reports, and                6.30      3,622.50
                        providing suggestions re same; confer with damages expert         575.00/hr
                        (S. Blum) re expert analysis; analyze Order on Motion to
                        Compel; analyze Defendants' experts disclosures under
                        Protective Order, and communicate with clients re same.

  6/29/2017 JN   A102                                                                       9.30      2,092.50
                                                                                          225.00/hr



           DK    A103   Review, revise and finalize D. Smith expert report; multiple       11.90      3,867.50
                        telephone calls with D. Smith; confer with G. Ruttenberg re D.    325.00/hr
                        Smith expert report; review documents re same; review,
                        revise and finalize S. Blum expert report; confer with G.
                        Ruttenberg re same; brief telephone call with S. Blum; draft
                        separate statement of undisputed facts in motion for
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                                                                                              Hrs/Rate         Amount

                           summary judgment; review R. MacMillan deposition transcript
                           and various documents for use in same.

  6/29/2017 WS      A103   Assist D. Kadin with revising, finalizing and serving expert          3.50          682.50
                           reports of S. Blum and D. Smith; assist D. Kadin with               195.00/hr
                           distributing relevant documents to experts re same.

           GR       A103   Finalize expert reports; participate in telephone conference          7.50         4,312.50
                           with damages expert (S. Blum) and clients; further revisions        575.00/hr
                           to MSJ; review Defendants' supplemental discovery
                           responses.

  6/30/2017 DK      A104   Review Drop Stop documents for                                        4.60         1,495.00
                                                                                      ;        325.00/hr
                           telephone call with W. Pak of Cislo & Thomas re
                           telephone conference with G. Ruttenberg and A. Riley re
                           defendants' request for production, outstanding discovery
                           issues and potential stipulation, expert report and potential ex
                           parte motion to strike invalidity and claim construction
                           arguments and what parties are subject to order on motion to
                           dismiss; continue drafting separate statement of undisputed
                           facts re motion for summary judgment and review D. Smith
                           expert report and various documents for use in same.

           BM       A111   Confer with D. Kadin re expert reports and plan to move               0.90    NO CHARGE
                           forward with summary judgment; review and analyze expert            365.00/hr
                           reports submitted by Plaintiff and Defendants.

           JN       A102                                                                         6.80         1,530.00
                                                                                               225.00/hr

                                                                         .

           WS       A110   Download and process new production from Defendants per               0.50    NO CHARGE
                           D. Kadin.                                                           195.00/hr

           WS       A103   Assist D. Kadin with further drafting and revisions to Motion         2.70    NO CHARGE
                           for Summary Judgment and exhibits and documents to be               195.00/hr
                           filed in support of same.

           GR       A104   Analyze Defendants' expert reports; various correspondence            3.50         2,012.50
                           with Defendants re improper invalidity defenses that were           575.00/hr
                           stricken by the Court; meet and confer re discovery issues;
                                                ; draft correspondence to opposing
                           counsel re same;
                                                further revisions to summary judgment
                           motion.

                For professional services rendered                                             460.10      $134,433.50
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            Additional Charges :

                                                                                                            Amount

   6/6/2017 Attorney Service Fee to Deliver Courtesy Copy of Reply ISO Motion to Dismiss - US District       31.60
            Court in Santa Ana, CA; Nationwide Legal, Invoice No. 154281

            Attorney Service Fee to Delivery Courtesy Copy of Motion to Compel Discovery - Roybal           105.65
            Federal Building (US District Court, Central District) in Los Angeles, CA; Nationwide Legal,
            Invoice No. 154281

   6/8/2017 Postage fee for mailing Check for Copy of 3/6/2017 Hearing (Discovery Hearing with Judge          0.49
            Guilford) Transcript to Court Reporter (Miriam Veliz Baird); Santa Ana, CA

  6/12/2017 Dinner for working on Reply in Support of Motion for Sanctions and G. Ruttenberg                 20.98
            Declaration at Ruttenberg IP Law in Los Angeles, CA; Fresh Corn Grill

  6/13/2017 Attorney Service Fee to Deliver Courtesy Copy of Sanctions Reply - US District Court in          32.80
            Santa Ana, CA; Nationwide Legal, Invoice No. 154281

  6/14/2017 Attorney Service Fee to Delivery Courtesy Copy of Motion to Compel Supplemental Brief -          43.00
            Roybal Federal Building (US District Court, Central District) in Los Angeles, CA; Nationwide
            Legal, Invoice No. 154281

  6/15/2017 Fee to prepare Binders for Hearing on Motions to Dismiss on June 19, 2017 - iDiscover,          213.15
            LLC; Invoice No. 64126

  6/19/2017 Transportation - Mileage & parking to attend Hearings on Motions to Dismiss at Ronald            55.00
            Reagan Federal Building & Courthouse; Santa Ana, CA - D. Kadin

            Transportation - Attend Hearings on Motions to Dismiss at Ronald Reagan Federal Building          5.84
            & Courthouse; Santa Ana, CA; G. Ruttenberg - Uber

  6/20/2017 Fee to prepare exhibits for R. MacMillan Deposition on June 20, 2017 - Legal Document           108.12
            Solutions; Invoice No. 100493

            Fee for assisting with R. MacMillan deposition (travel time & assistance during deposition)      75.00
            in Toledo, OH; Ashton Burke

  6/22/2017 Postage fee for mailing Check to Ashton Burke for Assistance with R. MacMillan                    0.49
            Deposition; Riverview, MI

  6/26/2017 Transportation - Attend Hearing on Motion for Sanctions at Ronald Reagan Federal Building        61.80
            & Courthouse in Santa Ana, CA; G. Ruttenberg - Uber

            Transportation - Mileage & parking to attend Hearing on Motion for Sanctions at Ronald           54.00
            Reagan Federal Building & Courthouse; Santa Ana, CA - D. Kadin

  6/27/2017 Fee to Deliver Sample Infringing Products and Retainer Check to Alpine Engineering &             57.46
            Design, Inc. (expert services) in Alpine, UT - FedEx; Invoice No. 2-380-09812

            Transportation - Mileage and parking to attend Discovery Hearing at Roybal Federal               20.09
            Building & Courthouse; Los Angeles, CA - D. Kadin & G. Ruttenberg
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                                                                                                              Amount

  6/27/2017 Fee for L. Lim and R. Johnson Depositions (Certificates of Non-Appearances) on June 15,           606.50
            2017 - TSG Reporting, Inc.; Invoice No. 061517-601832

            Retainer Fee for Technical Expert Consulting Services in Alpine, UT; Alpine Engineering          2,500.00
            and Design, Inc.

            Postage fee for mailing Payment for Invoice No. 061517-601832 for L. Lim and R. Johnson              0.49
            Depositions (Certificates of Non-Appearances) on June 15, 2017, TSG Reporting, Inc.; New
            York, NY

  6/30/2017 Photocopies of case related documents - June 2017                                                 116.10

            Court Fees to download case related documents - June 2017; Pacer                                     8.10

            Online Research - June 2017; Westlaw                                                              890.69

            Postage fee for mailing Payment for Damages Expert Services (Invoice No. 1) to Flare, Inc.;          0.49
            Porter Ranch, CA

                Total additional charges                                                                    $5,007.84


                Total amount of this bill                                                                 $139,441.34
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                                 Ruttenberg
                                        #:4468IP Law
                                              A Professional Corporation
                                          1801 Century Park East, Suite 1920
                                               Los Angeles, CA 90067
                                                  EIN #
                                                   (310) 627-2270

Invoice submitted to:
Drop Stop LLC
Jeffrey Simon, Co-President




August 24, 2017

Invoice #          10422
Firm Matter No.:   1128-100           Patent Infringment


            Professional Services

                                                                                              Hrs/Rate     Amount

  7/2/2017 DK      A103    Review and revise motion for summary judgment re                      5.20      1,742.00
                           infringement section and related SUFs; confer with G.               335.00/hr
                           Ruttenberg re same.

            GR     A104    Further analysis of summary judgment motion and supporting            1.20       714.00
                           documents; confer with team member (D. Kadin) re same.              595.00/hr

  7/3/2017 BM      A104    Review Plaintiff's discovery responses and prepare                    0.70    NO CHARGE
                           comments for supplemental responses; confer and                     380.00/hr
                           correspond re same with D. Kadin and G. Ruttenberg.

            JN     A102    Conduct research regarding                                            8.60      1,935.00
                                                   willfulness, summary judgment               225.00/hr



            GR     A103    Revise summary judgment motion, issues relating to                   10.50      6,247.50
                                                   ; revise declaration of Smith in support    595.00/hr
                           of same, including issues relating to                     ;
                           analyze defendants' invalidity expert report, and assess
                           possible responses thereto; revise proposed stipulation re
                           fact and expert depositions; revise supplemental discovery
                           response in response to Defendants' demands; various
                           emails with A. Riley re expert depositions, fact depositions
                           and other discovery issues.

            DK     A103    Review and revise motion for summary judgment and SUFs;              10.00      3,350.00
                           conduct research re same; review J. Nafekh research re              335.00/hr
                           same; draft and revise supplemental discovery responses;
                           confer with G. Ruttenberg re same.
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                                                                                           Hrs/Rate      Amount

   7/3/2017 WS   A103   Assist D. Kadin and G. Ruttenberg with drafting and revising          4.50        877.50
                        supplemental responses to interrogatories and requests for          195.00/hr
                        production; assist D. Kadin with serving same.

           WS    A103   Assist G. Ruttenberg with revising stipulation re expert              0.60        117.00
                        discovery depositions.                                              195.00/hr

           WS    A103   Assist D. Kadin with further drafting and revisions to Motion         5.40      1,053.00
                        for Summary Judgment and Other Relief and documents and             195.00/hr
                        exhibits to be filed in support of same.

   7/5/2017 BM   A103   Review and revise draft motion for summary judgment (all              2.60    NO CHARGE
                        portions) and confer with D. Kadin and G. Ruttenberg re             380.00/hr
                        proposed changes and comments; conduct research to verify
                        accuracy of case citations.

           GR    A103   Further edits to summary judgment motion; draft and revise            8.30      4,938.50
                        sections relating to                                                595.00/hr
                                                                      ; draft and revise
                        proposed order and notice of motion; revise supporting
                                                          ; revise SSUFs; analyze
                        supplemental discovery responses; confer with opposing
                        counsel re discovery stipulation, and revise same.

           JN    A102   Continue research regarding                                 ,        12.10      2,722.50
                                                                                            225.00/hr
                                                   ; review and revise Motion for
                        Summary Judgment and Statement of Undisputed Facts.

           DK    A103   Review and revise motion for summary judgment and other              11.20      3,752.00
                        relief, SSUF, supporting declarations in support thereof;           335.00/hr
                        confer with G. Ruttenberg re same; confer with J. Nafekh re
                        SSUF; review citations in brief with respect to SSUF.

           WS    A103   Assist D. Kadin with further drafting and revisions to Motion        10.50      2,047.50
                        for Summary Judgment and Other Relief and documents and             195.00/hr
                        exhibits to be filed in support of same.

           WS    A103   Assist G. Ruttenberg with editing and revising draft stipulation      0.50         97.50
                        re expert deadlines.                                                195.00/hr

   7/6/2017 DK   A103   Review, revise and finalize motion for summary judgment               5.00      1,675.00
                        and other relief, exhibits and supporting documents.                335.00/hr

           GR    A103   Review and finalize stipulation re discovery and expert               4.20      2,499.00
                        reports; confer with opposing counsel re same; analyze              595.00/hr
                        Defendants' expert report on invalidity, issues relating
                                                                                 revise
                        summary judgment motion and separate statement of facts,
                        issues relating to                               review and
                        revise Ruttenberg declaration in support of same.
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                                                                                             Hrs/Rate      Amount

   7/6/2017 WS   A103   Assist D. Kadin with further drafting and revisions to Motion           7.90      1,540.50
                        for Summary Judgment and Other Relief and documents and               195.00/hr
                        exhibits to be filed in support of same; assist with organizing
                        final documents for email service to opposing counsel.

   7/7/2017 DK   A104   Review motion for summary judgment and other relief,                    3.10      1,038.50
                        exhibits and expert reports re confidential information;              335.00/hr
                        annotate same re proposed redactions; confer with G.
                        Ruttenberg re same; confer with W. Stevens re application to
                        seal and supporting documents; telephone call with J. Simon
                        and M. Newburger re




           GR    A103   Confer with team member (D. Kadin) re confidentiality issues            2.00      1,190.00
                        in briefing; telephone conference with clients (M. Newburger          595.00/hr
                        and J. Simon) re
                                   ; draft proposed settlement letter outlining
                        settlement history and proposed solution.

           JL    A103   Review and revise draft settlement letter to opposing counsel.          0.30    NO CHARGE
                                                                                              125.00/hr

           WS    A103   Assist D. Kadin and G. Ruttenberg with further drafting and             3.30        643.50
                        revisions to Application to Seal Motion for Summary                   195.00/hr
                        Judgment documents and Declaration of Daniel Kadin in
                        support thereof.

  7/10/2017 GR   A104   Review application to seal and supporting documents; confer             1.50        892.50
                        with opposing counsel re confidentiality objections.                  595.00/hr

           DK    A103   Review, revise and finalize application to seal, Declaration in         3.00    NO CHARGE
                        support of same, proposed order and exhibits; confer with G.          335.00/hr
                        Ruttenberg and W. Stevens re same.

           WS    A103   Assist D. Kadin and G. Ruttenberg with finalizing, filing and           5.50    NO CHARGE
                        serving Application to Seal Motion for Summary Judgment               195.00/hr
                        documents and Declaration of Daniel Kadin in support
                        thereof.

  7/11/2017 BM   A104   Review final submission version of MSJ, including supporting            0.70    NO CHARGE
                        declarations, separate statement of undisputed facts and              380.00/hr
                        other documents.

           WS    A103   Assist J. Lee with finalizing and filing Notice of Lodging and          0.50    NO CHARGE
                        coordinating delivery of exhibit to clerk of court.                   195.00/hr

           JL    A111   Finalize and file notice of lodging of physical exhibit in support      0.20    NO CHARGE
                        of MSJ; arrange for delivery of same to Santa Ana                     125.00/hr
                        courthouse.
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                                                                                        Hrs/Rate      Amount

  7/12/2017 GR   A103   Draft and revise settlement demand letter; communicate with        1.00        595.00
                        clients re same; communicate with Defendants' counsel re         595.00/hr
                        same.

  7/14/2017 WS   A103   Assist D. Kadin and G. Ruttenberg with filing Memorandum           2.60        507.00
                        and Statement in Support of Motion for Summary Judgment          195.00/hr
                        and Other Relief and declarations and exhibits in support of
                        same under seal per court order.

           GR    A103   Draft correspondence to B. Choka (counsel for witness R.           0.50        297.50
                        MacMillan) re signature on deposition; review                    595.00/hr
                        correspondence from Judge's chambers re Order on sealing
                        documents; respond to same.

  7/17/2017 JN   A102   Continue research                                                  2.00    NO CHARGE
                                                                                         225.00/hr




           BM    A104   Review and analyze Defendants' opposition to motion for            0.50    NO CHARGE
                        summary judgment and supporting documents.                       380.00/hr

           GR    A104   Review Defendants' MSJ opposition; confer with team                1.00        595.00
                        members re strategies for reply.                                 595.00/hr

           WS    A103   Assist G. Ruttenberg, D. Kadin and J. Nafekh with initial          4.40    NO CHARGE
                        drafting of Reply in Support of Motion for Summary               195.00/hr
                        Judgment, Response to Statements of Genuine Dispute and
                        Evidentiary Objections.

           WS    A101   Assist D. Kadin with preparing binders of cases and briefing       0.70    NO CHARGE
                        material in advance of Motion for Summary Judgment               195.00/hr
                        hearing on August 7, 2017.

           RN    A102   Conduct research re summary judgment for infringement and          4.30    NO CHARGE
                        conflicting expert reports; prepare email re same.               225.00/hr

           DK    A104   Review defendants' opposition to motion for summary                5.00      1,675.00
                        judgment and other relief, and related documents; confer with    335.00/hr
                        G. Ruttenberg re same; conduct research re
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                                                                                          Hrs/Rate      Amount

  7/18/2017 JN   A102   Continue research regarding                                          3.50        787.50
                                                                                           225.00/hr

           WS    A103   Assist G. Ruttenberg, D. Kadin and J. Nafekh with further            6.60    NO CHARGE
                        revisions to Response to Statements of Genuine Dispute;            195.00/hr
                        assist D. Kadin with research re summary judgment reply
                        brief.

           RN    A102                                                                        3.90    NO CHARGE
                                                                                           225.00/hr

           DK    A103   Draft                                                 reply          8.10      2,713.50
                        in support of motion for summary judgment and other relief;        335.00/hr
                        review relevant documents re same; conduct research re

                                      confer with G. Ruttenberg and J. Nafekh re
                        strategy.

           GR    A103   Edit MSJ reply brief, issues relating to infringement.               1.30        773.50
                                                                                           595.00/hr

  7/19/2017 JN   A102   Continue research regarding                                          0.60    NO CHARGE
                        D                                                                  225.00/hr


           RN    A102                                                                        4.80    NO CHARGE
                                                                                           225.00/hr

           WS    A103   Assist G. Ruttenberg, D. Kadin and J. Nafekh with further            2.50    NO CHARGE
                        revisions to Reply in Support of Motion for Summary                195.00/hr
                        Judgment and documents and exhibits to be filed in support
                        of same.

           DK    A103   Draft invalidity, damages and 56(d) sections of reply in             8.60      2,881.00
                        support of motion for summary judgment and other relief;           335.00/hr
                        review and revise infringement sections re G. Ruttenberg
                        redlines.

           GR    A104   Analyze reply brief in support of summary judgment, issues           3.80      2,261.00
                        relating to Defendants' obviousness defenses; analyze              595.00/hr
                        Manley reference, and availability as prior art; analyze
                        supplemental expert report from Defendants re Manley;
                        research requirements for establishing priority; correspond
                        with opposing counsel (A. Riley) re Defendants' proposed
                        summary judgment motion, and analyze same.

  7/20/2017 JN   A102   Continue research regarding issues relevant to Reply ISO             2.60    NO CHARGE
                        Motion for Summary Judgment.                                       225.00/hr

           RN    A102   Conduct research re various issues for reply brief; confer with      5.20    NO CHARGE
                        D. Kadin re same.                                                  225.00/hr
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                                                                                          Hrs/Rate      Amount

  7/20/2017 BM   A104   Further review Defendants' opposition brief, including               0.60    NO CHARGE
                        portions relating to non-infringement; review current draft of     380.00/hr
                        reply brief.

           WS    A103   Assist G. Ruttenberg, D. Kadin and J. Nafekh with further            3.10        604.50
                        revisions to Reply in Support of Motion for Summary                195.00/hr
                        Judgment and documents and exhibits to be filed in support
                        of same.

           DK    A103   Draft replies to Defendants' responses to SUF's; review              9.00      3,015.00
                        relevant documents and exhibits re same.                           335.00/hr

           GR    A103   Further research in support of MSJ reply brief; analyze              3.50      2,082.50
                        Defendants' new invalidity theories of obviousness and             595.00/hr
                        indefiniteness; research

                                                ; revise MSJ reply re invalidity
                        arguments; review responsive letter from Defendants'
                        counsel re settlement offer, and confer with clients re same;
                        correspond and confer via telephone with opposing counsel
                        (A. Riley and L. Mei) re Defendants' proposed summary
                        judgment motion.

  7/21/2017 JN   A102   Continue research regarding                                          1.00    NO CHARGE
                                 .                                                         225.00/hr

           WS    A103   Assist G. Ruttenberg, D. Kadin and J. Nafekh with further            1.50    NO CHARGE
                        revisions to Reply in Support of Motion for Summary                195.00/hr
                        Judgment and documents and exhibits to be filed in support
                        of same.

           RN    A102   Conduct research re various issues for reply brief; confer with      4.10    NO CHARGE
                        D. Kadin re same.                                                  225.00/hr

           DK    A103   Finish drafting replies to Defendants' responses to SUF's;           9.30      3,115.50
                        review relevant documents and exhibits re same; review and         335.00/hr
                        revise memorandum in support of motion for summary
                        judgment and other relief.

           GR    A104   Further analysis of reply brief in support of MSJ; confer with       1.80      1,071.00
                        team member (D. Kadin) re same; confer with client (M.             595.00/hr
                        Newburger) re                                 .

  7/23/2017 GR   A103   Various edits to SUF reply; revise MSJ reply brief, issues           9.80      5,831.00
                        relating to                                                        595.00/hr


           DK    A103   Draft evidentiary objections re Defendants' opposition to            2.00        670.00
                        motion for summary judgment and other relief, declarations in      335.00/hr
                        support of same and expert opinions re same.
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                                                                                          Hrs/Rate      Amount

  7/24/2017 BM   A104   Review and analyze MSJ Reply brief filed by Plaintiff.               0.50    NO CHARGE
                                                                                           380.00/hr

           GR    A103   Revise and finalize reply brief re summary judgment; revise         10.50      6,247.50
                        and finalize evidentiary objections; revise supplemental           595.00/hr
                        declaration and application to seal; analyze SUF replies;
                        various research for same.

           RN    A102   Conduct research re various issues for reply brief; confer with      5.80    NO CHARGE
                        D. Kadin and J. Nafekh re same.                                    225.00/hr

           JN    A102   Continue research relevant to the Reply ISO Motion for              12.80      2,880.00
                        Summary Judgment on topics including but not limited to            225.00/hr


                                                       ; continue revising and
                        proofreading the Reply ISO Motion for Summary Judgment.

           DK    A103   Review, revise and finalize motion for summary judgment             13.50      4,522.50
                        and other relief, replies to Defendants' responses to SUF's,       335.00/hr
                        evidentiary objections, declaration, application to seal and
                        exhibits; conduct research re same.

           WS    A103   Assist G. Ruttenberg, D. Kadin and J. Nafekh with finalizing,       10.80      2,106.00
                        filing and serving Reply in Support of Motion for Summary          195.00/hr
                        Judgment and documents and exhibits to be filed in support
                        of same.

  7/25/2017 DK   A104   Review filed documents f                                             2.40        804.00
                                                                                           335.00/hr
                                           for summary judgment
                                                                  ; compile previous
                        correspondence with counsel re plaintiff's motion for
                        summary judgment.

           WS    A101   Assist D. Kadin with preparing binders of cases and briefing         1.60    NO CHARGE
                        material in advance of Motion for Summary Judgment                 195.00/hr
                        hearing on August 7, 2017.

  7/26/2017 DK   A101   Compile and annotate cases cited in motion for summary               2.50        837.50
                        judgment and other relief and reply for use in 8/7/2017            335.00/hr
                        hearing on same.

           GR    A104   Analyze pretrial strategies and requirements; confer with            1.00        595.00
                        team member (D. Kadin) re same; telephone conference with          595.00/hr
                        clients re                                 .

  7/27/2017 DK   A101   Prepare motion for summary judgment and other relief                 3.50      1,172.50
                        hearing outline; review documents in preparation of same;          335.00/hr
                        conduct research re
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                                                                                            Hrs/Rate        Amount

                           confer with G. Ruttenberg


  7/27/2017 GR      A105   Prepare for possible summary judgment motion by                     0.30         178.50
                           defendants; confer with team member (D. Kadin) re same.           595.00/hr

  7/28/2017 JN      A103   Continue drafting and revising hearing outline for Motion for       2.00    NO CHARGE
                           Summary Judgment.                                                 225.00/hr

           WS       A101   Assist D. Kadin with preparing binders of cases and briefing        2.10    NO CHARGE
                           material in advance of Motion for Summary Judgment                195.00/hr
                           hearing on August 7, 2017.

           DK       A101   Prepare outline for hearing on plaintiff's motion for summary       6.50        2,177.50
                           judgment and other relief; review relevant documents and          335.00/hr
                           cases for use in same; conduct research re
                                                                               ; draft
                           updated settlement agreement, joint stipulated judgment,
                           proposed stipulated judgment, joint stipulation re stay of
                           litigation and proposed order re stay; review and revise same.

           GR       A103   Prepare response to Defendants' settlement proposal;                1.30         773.50
                           preliminary review of Defendants' rebuttal expert reports;        595.00/hr
                           revise draft settlement agreement and exhibits to same.

  7/31/2017 BM      A104   Review and analyze Defendants' motion for summary                   0.80    NO CHARGE
                           judgment and supporting documents; confer with D. Kadin re        380.00/hr



           WS       A101   Assist D. Kadin with preparing binders of cases and briefing        0.60    NO CHARGE
                           material in advance of Motion for Summary Judgment                195.00/hr
                           hearing on August 7, 2017; confer with copy vendor re same.

           WS       A103   Assist D. Kadin with drafting documents to be filed in              2.10         409.50
                           opposition to Defendants' motion for summary judgment.            195.00/hr

           DK       A103   Finalize outline for hearing on motion for summary judgment;        5.20        1,742.00
                           review defendants' motion for summary judgment, rebuttal          335.00/hr
                           expert report and SUF; draft ex parte motion to strike
                           defendants' motion for summary judgment.

           GR       A103   Review summary judgment motion; draft proposed stipulation          4.50        2,677.50
                           re Defendants' MSJ in order to avoid ex parte practice; draft     595.00/hr
                           various correspondence and leave telephone messages for
                           opposing counsel re same; confer with team member (D.
                           Kadin) re ex parte application to strike; revise ex parte
                           application re same.

                For professional services rendered                                           338.60      $95,672.00
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            Additional Charges :

                                                                                                              Amount

   7/3/2017 Dinner for working on Discovery Responses and Motion for Summary Judgment at                       24.66
            Ruttenberg IP Law in Los Angeles, CA; Cabbage Patch

   7/5/2017 Postage fee for mailing Payment for Damages Expert Services (Invoice No. 4365) to Alpine             0.49
            Engineering & Design, Inc.; Alpine, UT

   7/6/2017 Fee for Return Delivery of Sample Infringing Products from Alpine, UT to Ruttenberg IP Law         77.75
            in Los Angeles, CA - FedEx; Invoice No. 2-387-33837

  7/11/2017 Attorney Service Fee to Deliver Courtesy Copy of MSJ - US District Court in Santa Ana, CA;         27.00
            Nationwide Legal, Invoice No. 155390

            Attorney Service Fee to Deliver Physical Exhibit 21 to MSJ Lodging - US District Court in         202.45
            Santa Ana, CA; Nationwide Legal, Invoice No. 155390

  7/14/2017 Attorney Service Fee to Deliver Sealed Documents for MSJ - US District Court in Santa             185.90
            Ana, CA; Nationwide Legal, Invoice No. 155390

  7/24/2017 Dinner for working on Motion for Summary Judgment Reply at Ruttenberg IP Law in Los                21.05
            Angeles, CA; Fresh Corn Grill

  7/25/2017 Attorney Service Fee to Deliver Courtesy Copy of MSJ Reply - US District Court in Santa           164.20
            Ana, CA; Nationwide Legal, Invoice No. 155987

  7/26/2017 Fee for Richard S. MacMillan Deposition (Certified Transcript & Exhibits) on June 20, 2017 -      721.00
            TSG Reporting, Inc.; Invoice No. 062017-700686

            Postage fee for mailing Payment for Invoice No. 062017-700686 for R. MacMillan                       0.49
            Deposition Transcript on June 20, 2017, TSG Reporting, Inc.; New York, NY

  7/30/2017 Attorney Service Fee for Subpoena Compliance Location for Richard S. MacMillan in                  67.50
            Toledo, OH; First Legal Records, Invoice No. 71421-01-01

  7/31/2017 Photocopies of case related documents - July 2017                                                  17.40

            Court Fees to download case related documents - July 2017; Pacer                                   20.70

            Online Research - July 2017; Westlaw                                                              605.91

            Attorney Service Fee to Deliver Courtesy Copy of Sealed Version of SSUF - US District              74.60
            Court in Santa Ana, CA; Nationwide Legal, Invoice No. 155987

                Total additional charges                                                                    $2,211.10


                Total amount of this bill                                                                  $97,883.10
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Thank you for your Business.
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                                 Ruttenberg
                                        #:4478IP Law
                                               A Professional Corporation
                                           1801 Century Park East, Suite 1920
                                                Los Angeles, CA 90067
                                                   EIN #
                                                    (310) 627-2270

Invoice submitted to:
Drop Stop LLC
Jeffrey Simon, Co-President




September 6, 2017

Invoice #           10432
Firm Matter No.:    1128-100            Patent Infringment


            Professional Services

                                                                                                Hrs/Rate     Amount

  8/1/2017 BM       A103    Review and revise draft ex parte application to strike portions        1.70    NO CHARGE
                            of Defendants' summary judgment motion and to extend                 380.00/hr
                            briefing schedule; meeting with G. Ruttenberg and D. Kadin
                            to discuss strategies re drafting same; further review of
                            Court's prior Order striking affirmative defenses and
                            Defendants' summary judgment motion.

            DK      A103    Draft plaintiff's responses to defendants' proposed SUF re             8.50      2,847.50
                            defendants' motion for summary judgment and review                   335.00/hr
                            relevant documents re same; review proposed stipulation re
                            briefing schedule; review, revise and finalize ex parte
                            application to strike portions of defendants' motion for
                            summary judgment, and related relief.

            JL      A103    Review, revise, finalize and file ex parte application to strike       3.00       375.00
                            portions of defendants' motion for summary judgment, and             125.00/hr
                            related relief; arrange for delivery of chambers copies of
                            same.

            GR      A103    Revise and finalize ex parte application to strike; revise             7.00      4,165.00
                            supporting documents; coordinate with team members re                595.00/hr
                            same; various correspondence and telephone
                            communications to opposing counsel (A. Riley) re proposed
                            stipulation to avoid ex parte application; confer with clients re

                                   ; analyze Defendants' expert reports, and Defendants'
                            settlement response.

  8/2/2017 BM       A104    Review final ex parte application submitted by Plainitff and           0.80    NO CHARGE
                            correspond re same with G. Ruttenberg and D. Kadin; review           380.00/hr
                            and analyze Defendants' opposition to Plaintiff's ex parte
                            application and confer with D. Kadin re same.
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                                                                                            Hrs/Rate      Amount

   8/2/2017 JL   A103   Review, revise, finalize and file reply in support of ex parte         3.00        375.00
                        application to strike portions of defendants' motion for             125.00/hr
                        summary judgment, and related relief; arrange for delivery of
                        chambers copies of same.

           DK    A103   Draft responses to Defendants' SUF re motion for summary               8.00      2,680.00
                        judgment; draft portions of opposition to defendants' motion         335.00/hr
                        for summary judgment; conduct research re
                                                                 ; review and revise
                        reply in support of ex parte application to strike and other
                        relief.

           GR    A103   Draft and revise reply brief in support of ex parte application;       4.50      2,677.50
                        analyze summary judgment opposition; analyze settlement              595.00/hr
                        communications with Defendants.

   8/3/2017 BM   A104   Review and analyze filed Reply brief.                                  0.20    NO CHARGE
                                                                                             380.00/hr

           DK    A103   Draft opposition to defendants' motion for summary judgment            8.40      2,814.00
                        re introduction and infringement sections; review relevant           335.00/hr
                        documents and conduct research re same; confer with G.
                        Ruttenberg re same; review Chisum on Patents source cited
                        by Defendants.

           GR    A104   Further correspondence with Defendants' counsel (A. Riley)             0.80        476.00
                        re settlement and mediation; confer with clients re same;            595.00/hr
                        analyze pretrial requirements, and confer with team members
                        and opposing counsel re same.

   8/4/2017 DK   A103   Draft opposition to defendants' motion for summary judgment            5.90      1,976.50
                        re prosecution history estoppel and invalidity sections;             335.00/hr
                        conduct research re


                                  review order on plaintiff's ex parte application to
                        strike and other relief.

           GR    A104   Follow-up with opposing counsel re ex parte; contact court re          2.50      1,487.50
                        same; review and analyze order on ex parte application;              595.00/hr
                        review and analyze MSJ opposition; confer re settlement
                        conference dates.

   8/7/2017 DK   A103   Review and revise opposition to Defendants' motion for                 6.80      2,278.00
                        summary judgment; conduct research re                                335.00/hr

                                                                                        .
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                                                                                           Hrs/Rate      Amount

   8/7/2017 GR   A103   Confer with opposing counsel re scheduling of mediation with          2.90      1,725.50
                        Judge Segal; revise draft settlement agreement; confer with         595.00/hr
                        clients re same; draft and revise communications regarding
                        settlement.

   8/8/2017 BM   A104   Review and analyze Defendants' ex parte application for               0.20    NO CHARGE
                        reconsideration of Order striking portions of MSJ.                  380.00/hr

           DK    A103   Draft settlement conference statement for anticipated                 8.60      2,881.00
                        settlement conference with Magistrate Judge Segal; review           335.00/hr
                        standing order re same; review Defendants' ex parte
                        application for reconsideration and draft opposition to same;
                        conduct research re


           GR    A102   Correspond with Defendants' counsel (A. Riley) re proposed            3.50      2,082.50
                        ex parte application; analyze draft ex parte application; confer    595.00/hr
                        with team member (D. Kadin) re opposition to same;
                        research for same, issues relating to

                        review and analyze Defendants' response to settlement
                        proposal, and confer with opposing counsel re same.

   8/9/2017 DK   A103   Review, revise and finalize opposition to Defendants' ex parte        5.90      1,976.50
                        application for reconsideration; review Shirley Webster             335.00/hr
                        damages expert rebuttal report.

           WS    A103   Assist D. Kadin with drafting, finalizing, filing and serving         1.70        331.50
                        Opposition to Defendants' Ex Parte Motion for                       195.00/hr
                        Reconsideration.

           GR    A103   Revise opposition to Defendants' ex parte application for             4.50      2,677.50
                        reconsideration.                                                    595.00/hr


  8/10/2017 DK   A104   Finish review of S. Webster rebuttal damages expert report;           4.00      1,340.00
                        review L. Howle rebuttal infringement expert report.                335.00/hr

           BM    A104   Review and analyze Order from Court re Defendants' ex                 0.10    NO CHARGE
                        parte application for reconsideration.                              380.00/hr

           GR    A104   Review and analyze Order denying Defendants' ex parte                 0.50        297.50
                        application; confer with opposing counsel (A. Riley) re             595.00/hr
                        settlement discussions and possible mediation.

  8/11/2017 GR   A103   Draft various correspondence to opposing counsel (A. Riley)           1.00        595.00
                        re proposed settlement and mediation; review and revise             595.00/hr
                        Defendants' proposed Joint Stipulation re L.R. 16-2 meeting,
                        and correspond with opposing counsel (A. Riley) re same;
                        confer with clients re
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                                                                                             Hrs/Rate      Amount

  8/13/2017 GR   A104   Analyze Defendants' settlement response; confer with clients            1.00        595.00
                        re                                                  draft             595.00/hr
                        correspondence to opposing counsel re settlement
                        discussions, mediation and in-person meeting of counsel.


  8/14/2017 WS   A103   Assist D. Kadin and G. Ruttenberg with further drafting and             1.20        234.00
                        revisions to Opposition to Defendants' Motion for Summary             195.00/hr
                        Judgment and documents to be filed in support of same.

           GR    A103   Review and analyze opposition to Defendants' summary                    3.30      1,963.50
                        judgment motion; revise statement of genuine issues in                595.00/hr
                        response to same, and confer with team member (D. Kadin)
                        re same;

                                                                 ; draft and revise
                        correspondence to opposing counsel (A. Riley) re invalidity
                        arguments that were stricken by Court, as well as other
                        objections; review and revise draft stipulation proposed by
                        Defendants for continuing in-person meeting of counsel, and
                        correspond with Defendants' counsel re same.

  8/15/2017 DK   A103   Review and revise responses to proposed statement of                    8.70      2,914.50
                        uncontroverted facts and opposition brief to defendants'              335.00/hr
                        motion for summary judgment; confer with G. Ruttenberg re
                        same; telephone conference with expert D. Smith re case
                        update and upcoming briefing.

           WS    A103   Assist D. Kadin with initial drafting of trial witness and exhibit      2.40        468.00
                        lists and other documents required for Pre-trial Conference           195.00/hr
                        Statement; review local rules re same.

           GR    A103   Confer with clients re                                                  3.00      1,785.00
                                  ; review and revise response to Defendants'                 595.00/hr
                        proposed undisputed statement of facts in connection with
                        opposing Defendants' summary judgment motion;
                        correspond with Defendants' counsel (A. Riley) re withdrawn
                        SUFs in light of Order striking portions of motion; analyze
                        possible rebuttal expert report on                          .

  8/16/2017 DK   A103   Review and revise opposition to defendants' motion for                  7.40      2,479.00
                        summary judgment; draft D. Smith declaration in support of            335.00/hr
                        same; review and revise trial exhibit and witness lists; review
                        R. MacMillan deposition transcript re deposition designations;
                        review local rules and A. Guilford standing order re pre-trial
                        and trial procedures.

           WS    A103   Assist D. Kadin with further drafting and revisions to trial            2.40        468.00
                        witness and exhibit lists and other documents required for            195.00/hr
                        Pre-trial Conference Statement; review local rules re same.
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                                                                                          Hrs/Rate      Amount

  8/16/2017 GR   A103   Review and revise Drop Stop's responses to statement of              1.50        892.50
                        facts re summary judgment; correspond with opposing                595.00/hr
                        counsel (A. Riley) re SUFs and expert reports; analyze
                        possible mediation dates and mediators, and confer with
                        opposing counsel and clients re same.

  8/17/2017 DK   A103   Review and revise SGD's conduct research re                          7.00      2,345.00
                                                                                           335.00/hr
                                          ; prepare documents for reference during
                        settlement telephone conference; review, revise and serve S.
                        Webster deposition notice; confer with W. Stevens re motion
                        for summary judgment hearing binder; confer with G.
                        Ruttenberg re

                                                                              ; review
                        and revise fact section of opposition to defendants' motion for
                        summary judgment; telephone conference with G.
                        Ruttenberg, M. Newburger, J. Simon, A. Riley, L. Mei and J.
                        Zhu re settlement.

           WS    A103   Assist D. Kadin and G. Ruttenberg with further drafting and          2.50        487.50
                        revisions to Opposition to Defendants' Motion for Summary          195.00/hr
                        Judgment and documents to be filed in support of same.

           GR    A103   Revise summary judgment opposition, issues relating to               3.50      2,082.50
                                                                                           595.00/hr
                        correspond with opposing counsel re depositions of damages
                        experts.

  8/18/2017 DK   A103   Review, revise and finalize opposition to defendants' motion        10.20      3,417.00
                        for summary judgment, SGD's, declaration of D. Smith,              335.00/hr
                        evidentiary objections; confer with G. Ruttenberg re same;
                        telephone calls with D. Smith re declaration.

           WS    A103   Assist D. Kadin and G. Ruttenberg with further drafting and          7.60      1,482.00
                        revisions to Opposition to Defendants' Motion for Summary          195.00/hr
                        Judgment and documents to be filed in support of same.

           GR    A103   Revise summary judgment opposition.                                  4.00      2,380.00
                                                                                           595.00/hr

  8/21/2017 DK   A102   Conduct research re                                                  4.10      1,373.50
                            ; confer with W. Stevens re motion for summary                 335.00/hr
                        judgment binder; draft correspondence re proposed pretrial
                        exchanges; confer with G. Ruttenberg re same; review
                        proposed R. MacMillan deposition designations.

           WS    A110   Assist D. Kadin with preparing and revising binders of               2.00        390.00
                        material for the August 28 Motion for Summary Judgment             195.00/hr
                        hearing.
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                                                                                                Hrs/Rate      Amount

  8/21/2017 WS   A103   Assist D. Kadin with further drafting and revisions to trial               1.00        195.00
                        witness and exhibit lists and other documents required for               195.00/hr
                        Pre-trial Conference Statement; review local rules re same.

           GR    A103   Revise correspondence to opposing counsel re pretrial                      3.50      2,082.50
                        exchanges; analyze schedule for pretrial exchanges; revise               595.00/hr
                        and analyze draft pretrial disclosures, including proposed
                        exhibits and witness lists; revise proposed deposition
                        designations.

  8/22/2017 GR   A104   Further analysis of trial witness list and expected testimony,             2.90      1,725.50
                        for purposes of pretrial exchanges; review and revise list, and          595.00/hr
                        confer with D. Kadin re same; analyze damages expert
                        report; prepare for summary judgment hearing.

           DK    A103   Review and revise pre-trial exhibits and exhibit list; confer              7.40      2,479.00
                        with W. Stevens re same; confer with G. Rutteneberg re                   335.00/hr
                        same; search for
                                                       ; begin draft of portions of pre-trial
                        memorandum of contentions of fact and law; review and
                        revise pre-trial witness list; draft rough direct exam outlines;
                        telephone call with S. Blum re potential expert deposition
                        dates.

           WS    A103   Assist D. Kadin with further drafting and revisions to trial               6.60      1,287.00
                        witness and exhibit lists and other documents required for               195.00/hr
                        Pre-trial Conference Statement; review local rules re same.

  8/23/2017 WS   A110   Assist D. Kadin with finalizing binders of material for the                2.80        546.00
                        August 28 Motion for Summary Judgment hearing.                           195.00/hr

           DK    A103   Review pleadings, discovery responses, SUF for reference in                7.40      2,479.00
                        compiling list of potential stipulated facts; confer with W.             335.00/hr
                        Stevens re adding exhibits to preliminary exhibit list; continue
                        draft of memorandum of contentions of fact and law.

           JL    A104   Review discovery responses for reference in compiling list of              0.80    NO CHARGE
                        potential stipulated facts.                                              125.00/hr

           WS    A103   Assist D. Kadin with further drafting and revisions to trial               1.30        253.50
                        witness and exhibit lists and other documents required for               195.00/hr
                        Pre-trial Conference Statement; review local rules re same.

  8/24/2017 DK   A103   Review, revise and finalize preliminary trial exhibit lists,               7.10      2,378.50
                        witness list and deposition designations; confer with G.                 335.00/hr
                        Ruttenberg and W. Stevens re same; telephone call with S.
                        Blum re deposition scheduling; draft additional portions of
                        memorandum of contentions of fact and law.
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                                                                                                Hrs/Rate      Amount

  8/24/2017 WS   A103   Assist D. Kadin with further drafting and revisions to trial               6.30      1,228.50
                        witness and exhibit lists and deposition designations; edit              195.00/hr
                        transcripts of designated testimony per local rules; begin
                        creating complete set of exhibits identified by plaintiffs for trial.

           GR    A103   Finalize Plaintiff's proposed trial exhibit list, witness list and         2.00      1,190.00
                        deposition designations for exchanging with Defendants'                  595.00/hr
                        counsel; communicate with team members re same.


  8/25/2017 DK   A104   Review binders for hearing on plaintiff's motion for summary               8.00      2,680.00
                        judgment, A. Guilford tentative order re motion for summary              335.00/hr
                        judgment and case law cited in same; confer with G.
                        Ruttenberg re A. Guilford tentative order and prepare
                        arguments in response to same; prepare supplemental
                        outline for hearing in response to points raised in A. Guilford
                        tentative order.

           JL    A110   Assist W. Stevens with preparing complete set of exhibits                  1.50    NO CHARGE
                        identified by plaintiffs and defendants for trial.                       125.00/hr

           WS    A110   Continue preparing complete set of exhibits identified by                  4.50    NO CHARGE
                        plaintiffs and defendants for trial.                                     195.00/hr

           WS    A110   Assist D. Kadin with final revisions to binders of material for            1.10        214.50
                        Motion for Summary Judgment hearing in response to                       195.00/hr
                        tentative order.

           GR    A101   Prepare for summary judgment hearing; analyze tentative                    2.30      1,368.50
                        ruling for same; prepare for L.R. 16 meeting of counsel, and             595.00/hr
                        confer re team members re same; analyze pretrial
                        exchanges.

  8/27/2017 DK   A103   Review and revise supplemental outline re motion for                       4.10      1,373.50
                        summary judgment hearing; conduct research re                            335.00/hr
                                                                review cases cited in A.
                        Guilford tentative order re
                                                      compile additional documents to
                        bring to hearing on plaintiff's motion for summary judgment.

           GR    A101   Prepare for summary judgment hearing; confer with team                     1.50        892.50
                        members and client re same.                                              595.00/hr


  8/28/2017 DK   A109   Attend hearing on plaintiff's motion for summary judgment                  1.60        536.00
                        and other relief; confer with G. Ruttenberg and A. Riley re              335.00/hr
                        pre-trial meeting of counsel.

           DK    A103   Draft objections to defendants' proposed exhibit list; review              3.00      1,005.00
                        defendants' reply in support of cross-motion for summary                 335.00/hr
                        judgment.
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                                                                                           Hrs/Rate      Amount

  8/28/2017 JL   A110   Continue preparing complete set of exhibits identified by             1.60    NO CHARGE
                        plaintiffs and defendants for trial.                                125.00/hr

           WS    A110   Continue preparing complete set of exhibits identified by             3.30        643.50
                        plaintiffs and defendants for trial.                                195.00/hr

           GR    A109   Prepare for summary judgment hearing; confer with D. Kadin            3.00      1,785.00
                        re same; attend summary judgment hearing; report back to            595.00/hr
                        clients re same.

  8/29/2017 WS   A110   Continue preparing complete set of exhibits identified by             3.60        702.00
                        plaintiffs and defendants for trial; create revised joint trial     195.00/hr
                        exhibit list spreadsheet for usage at trial.

           DK    A104   Review plaintiff's exhibits in anticipation of pretrial exchange      6.90      2,311.50
                        with defendants; confer with W. Stevens re same; review and         335.00/hr
                        revise plaintiff's objections to defendants' proposed exhibits;
                        conduct research re


           GR    A104   Analyze and revise pretrial materials; review and revise              2.50      1,487.50
                        objections to Defendants' exhibit list; analyze Drop Stop's         595.00/hr
                        exhibit list; analyze other pretrial disclosures, including
                        proposed stipulation of facts; communicate with opposing
                        counsel and clients re proposed mediation.

  8/30/2017 DK   A103   Review and revise proposed stipulation of facts and plaintiff's       5.50      1,842.50
                        objections to defendants' proposed trial exhibit list; review       335.00/hr
                        relevant pleadings, discovery and other documents for use in
                        same; telephone call with D. Smith re photographs used in
                        expert report; conduct additional research re


           WS    A110   Finalize complete set of exhibits identified by plaintiffs and        1.20        234.00
                        defendants for trial.                                               195.00/hr

           GR    A104   Analyze Defendants' trial exhibits; review and revise                 2.00      1,190.00
                        objections to same; confer with team member (D. Kadin) and          595.00/hr
                        clients re same; correspond with opposing counsel (A. Riley)
                        re mediation scheduling; confer with clients re mediation and
                        trial strategy.

  8/31/2017 BM   A104   Review and analyze Order re Plaintiff's summary judgment              0.50    NO CHARGE
                        motion; confer re same with D. Kadin.                               380.00/hr

           WS    A103   Assist D. Kadin with finalizing and serving Objections to             1.40        273.00
                        Defendants' Trial Exhibit List and Plaintiff's Draft Stipulation    195.00/hr
                        of Facts on opposing counsel.
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                                                                                              Hrs/Rate         Amount

  8/31/2017 DK      A104    Review A. Guilford order on motion for summary judgment              3.00         1,005.00
                            and other relief; review and revise objections to defendants'      335.00/hr
                            exhibit list; review and revise stipulation of facts; review
                            defendants' objections to plaintiff's exhibit list.

             GR     A103    Review and analyze Court's Order re summary judgment                 2.50         1,487.50
                            motion; revise and revise proposed Stipulation of Facts;           595.00/hr
                            further edits and analysis of objections to Defendants' trial
                            exhibits; confer and correspond with opposing counsel (A.
                            Riley) re scheduling mediation.

                For professional services rendered                                             279.50       $98,692.00

             Additional Charges :

   8/1/2017 Dinner for working on ex parte application to strike portions of defendants' motion for             40.62
            summary judgment, and related relief at Ruttenberg IP Law in Los Angeles, CA; Urth Caffe

   8/2/2017 Attorney Service Fee to Deliver Courtesy Copy of Ex Parte Application to Strike - US District       28.50
            Court in Santa Ana, CA; Nationwide Legal, Invoice No. 156635

   8/3/2017 Attorney Service Fee to Deliver Courtesy Copy of Reply ISO Ex Parte Application to Strike -         27.00
            US District Court in Santa Ana, CA; Nationwide Legal, Invoice No. 156635

   8/9/2017 Attorney Service Fee to Deliver Courtesy Copy of Opposition to Defendants' Ex Parte - US            27.50
            District Court in Santa Ana, CA; Nationwide Legal, Invoice No. 156635

  8/17/2017 Parking validation fee to attend case-related meeting - J. Simon & M. Newburger; Century            34.00
            City, CA

  8/23/2017 Fee for Obtaining 1 Certified Copy of Patent Assignment (Patent No. 8,267,291) from                 25.00
            USPTO; Order No. 7647296

  8/24/2017 Fee to prepare binders for Hearing on MSJ on August 28, 2017 - iDiscover, LLC; Invoice             238.65
            No. 65261

  8/28/2017 Transportation - Mileage and parking to attend Hearing on MSJ at Ronald Reagan Federal              54.00
            Building & Courthouse; Santa Ana, CA - D. Kadin & G. Ruttenberg

  8/30/2017 Fee to prepare trial exhibit - iDiscover, LLC; Invoice No. 65344                                    15.80

  8/31/2017 Photocopies of case related documents - August 2017                                                 80.90

             Online Research - August 2017; Westlaw                                                            988.64

             Court Fees to download case related documents - August 2017; Pacer                                   8.80

             Fee for Technical Expert Consulting Services in Alpine, UT (September 1, 2017 Invoice);           875.00
             Alpine Engineering and Design, Inc., Invoice No. 4423
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                                                                                  Amount
                Total additional charges                                        $2,444.41


                Total amount of this bill                                     $101,136.41




Thank you for your Business.
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                                 Ruttenberg
                                        #:4488IP Law
                                               A Professional Corporation
                                           1801 Century Park East, Suite 1920
                                                Los Angeles, CA 90067
                                                   EIN #
                                                    (310) 627-2270

Invoice submitted to:
Drop Stop LLC
Jeffrey Simon, Co-President




November 16, 2017

Invoice #           10459
Firm Matter No.:    1128-100           Patent Infringment


            Professional Services

                                                                                                Hrs/Rate     Amount

  9/1/2017 DK      A103     Draft responses to defendants' objections to exhibit list;             7.00      2,345.00
                            confer with G. Ruttenberg re same; draft further portions of         335.00/hr
                            memorandum of contentions of fact and law.

            WS     A103     Assist D. Kadin with drafting and revising draft Pre-Trial             4.20       819.00
                            Conference Statement, Memorandum of Contentions of Fact              195.00/hr
                            and Law; update                                          ;
                            create calendar of pre-trial deadlines for G. Ruttenberg and
                            D. Kadin; begin drafting
                                       .

            GR     A103     Confer with Magistrate Judge Segal's clerk re scheduling of            2.50      1,487.50
                            mediation; revise pretrial materials; revise responses to            595.00/hr
                            Defendants' objections to trial exhibits.

  9/4/2017 DK      A103     Review and revise plaintiff's responses to defendants'                 4.10      1,373.50
                            objections to exhibit list; draft further portions of                335.00/hr
                            memorandum of contentions of fact and law.

  9/5/2017 DK      A103     Draft and revise settlement conference statement and                   7.80      2,613.00
                            confidential addendum; telephone call with expert (D. Smith)         335.00/hr
                            re rebuttal report and trial dates; review and revise plaintiff's
                            responses to defendants' objections to exhibit list; confer with
                            G. Ruttenberg re same; conduct research re
                                     ; review and revise settlement offer to Defendants re
                            J. Segal settlement conference procedure; draft hearing
                            outline re 9/11/2017 hearing on defendants' motion for
                            summary judgment.

            WS     A103     Continue drafting                                              ;       4.50    NO CHARGE
                            confer with third parties re same; assist D. Kadin with drafting     195.00/hr
                            and revising mediation brief and gather exhibits cited in
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                                                                                           Hrs/Rate      Amount

                        same; review orders re mediation and calendar relevant
                        dates re same.

   9/5/2017 GR   A104   Further revisions to pretrial materials; review and analyze           5.00      2,975.00
                        Drop Stop's and Defendants' trial exhibits; revise responses        595.00/hr
                        to Defendants' objections; analyze various
                                       and other evidentiary objections; analyze
                        motions in limine; further confer with opposing counsel and
                        Magistrate Judge Segal's chambers re mediation protocol
                        and scheduling; prepare for depositions of damages experts;
                        various emails and discussions with opposing counsel re
                        scheduling damages expert depositions; confer with team
                        member D. Kadin and clients re strategies for settlement
                        conference submissions; analyze Order re summary
                        judgment, and confer with clients re same.

   9/6/2017 BM   A104   Review ex parte application and Order from Court re                   0.20    NO CHARGE
                        extending deadline for taking expert depositions.                   380.00/hr

           WS    A103   Assist D. Kadin with drafting and revising Responses to               3.30        643.50
                        Defendants' Deposition Designations; assist D. Kadin with           195.00/hr
                        further revisions to draft Settlement Agreement and exhibits
                        in support of same.

           WS    A101   Assist D. Kadin with preparing binders of materials for               3.60    NO CHARGE
                        hearing on Defendants' Motion for Summary Judgment.                 195.00/hr

           DK    A103   Draft final pretrial conference order; review and revise              9.00      3,015.00
                        memorandum of contentions of fact and law; review and               335.00/hr
                        revise settlement agreement and exhibits re S. Segal Order
                        re Settlement Conference; review Defendants' ex parte re
                        expert discovery; compile cases and documents for binder re
                        9/11/2017 hearing on defendants' motion for summary
                        judgment; confer with W. Stevens re same; confer with J. Lee
                        re
                                                           ; telephone conference with
                        G. Ruttenberg, J. Simon and M. Newburger re
                                                    telephone conference with G.
                        Ruttenberg and S. Blum re upcoming expert depositions and
                        reports; confer with G. Ruttenberg re pretrial deadlines and
                        documents; review and revise counter-designations and
                        prepare counter-counter designations and objections thereto.

           JL    A110   Prepare report of billing and calculation of attorneys' fees and      1.00    NO CHARGE
                        costs for use in settlement statement and offer; confer with D.     125.00/hr
                        Kadin re same.

           GR    A101   Confer with clients (J. Simon and M. Newburger) re                    4.50      2,677.50
                                                                                            595.00/hr
                                                confer with damages expert (S. Blum)
                        re Defendants' damages report, possible supplemental
                        report, and deposition preparation; review and analyze
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                                                                                          Hrs/Rate      Amount

                        Defendants' ex parte application re expert deadlines, and
                        Court's Order re same; revise settlement submissions and
                        Court-ordered settlement Offer, and prepare for settlement
                        conference.


   9/7/2017 BM   A105   Confer with D. Kadin re status of settlement discussions in          0.50    NO CHARGE
                        anticipation of mediation; review Plaintiff's settlement           380.00/hr
                        conference statement and confidential addendum.

           WS    A101   Confer with sales departments of hotels in Santa Ana area to         1.80    NO CHARGE
                        solicit price quotes for rooms and meeting space for               195.00/hr
                        upcoming trial; update projected budget of trial expenses re
                        same.

           WS    A103   Assist D. Kadin with further drafting and revisions to Joint         4.60    NO CHARGE
                        Exhibit List, Plaintiff's Witness List, Pre-Trial Conference       195.00/hr
                        Statement, Plaintiff's Settlement Statement and Confidential
                        Addendum; begin preparing binder of materials for
                        Settlement Conference.

           DK    A103   Review, revise and finalize Settlement Conference Statement          9.60      3,216.00
                        and Confidential Addendum; confer with G. Ruttenberg, J.           335.00/hr
                        Simon and M. Newburger re same; review and revise
                        memorandum of contentions of fact and law, joint exhibit list
                        and witness list; telephone conference with G. Ruttenberg, S.
                        Segal, A. Riley and L. Mei re Settlement Conference
                        procedure and posture; review '291 Patent file history in
                        anticipation of expert reply re invalidity/written description.

           GR    A103   Various telephone conferences with Magistrate Judge Segal,           6.00      3,570.00
                        alone and together with opposing counsel, in preparation for       595.00/hr
                        settlement conference; revise and finalize settlement
                        statements for submission to Magistrate Judge Segal; confer
                        with clients and D. Kadin re same; further analyze and
                        revisions to pretrial submissions, including exhibit lists.

   9/8/2017 BM   A104   Review                                                               2.50    NO CHARGE
                                                     in preparation for pre-trial and      380.00/hr
                        trial; confer with W. Stevens re status of pre-trial materials
                        and preparation for upcoming hearing; confer with D. Kadin
                        re status of summary judgment hearings and prospects for
                        settlement; review and analyze final versions of settlement
                        conference statement and confidential addendum; review
                        draft pretrial exchanges and confer re same with W. Stevens.

           DK    A103   Review and finalize binders for 9/11/2017 hearing on                 6.00      2,010.00
                        defendants' motion for summary judgment and Settlement             335.00/hr
                        Conference; confer with G. Ruttenberg and W. Stevens re
                        same; review A. Guilford tentative order re defendants'
                        motion for summary judgment; confer with G. Ruttenberg re
                        same; conduct research re
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                                                                                              Hrs/Rate      Amount

                                                     ; brief telephone call with S. Blum
                        re S. Webster rebuttal damages report; conduct further
                        review of '291 Patent file history; review Defendants' FRCP
                        68 Offer of Judgment in response to plaintiff's offer per S.
                        Segal Order re Settlement Conference.

   9/8/2017 WS   A101   Assist G. Ruttenberg and D. Kadin with preparing for hearing             4.40    NO CHARGE
                        on Defendants' Motion for Summary Judgment; assist G.                  195.00/hr
                        Ruttenberg and D. Kadin with preparing materials for
                        mediation with Judge Segal.

           WS    A101   Confer with sales departments of hotels in Santa Ana area to             1.00    NO CHARGE
                        solicit price quotes for rooms and meeting space for                   195.00/hr
                        upcoming trial; update projected budget of trial expenses re
                        same.

           GR    A101   Review Defendants' counteroffer; correspondence with                     6.50      3,867.50
                        Magistrate Judge Segal's chambers and opposing counsel re              595.00/hr
                        same; confer with clients re same; draft correspondence to
                        Amazon's counsel (S. Sanford) re injunction proposed by
                        Defendants; prepare for MSJ hearing; analyze arguments
                        raised by Defendants' reply brief, including
                                                                        ; continue
                        revising pretrial materials for exchange with Defendants;
                        revise witness list; review and edit draft Contentions of Law
                        and Fact.

  9/10/2017 DK   A103   Review and revise memorandum of contentions of fact and                  2.60        871.00
                        law; draft supplemental outline re 9/11/2017 hearing on                335.00/hr
                        defendants' motion for summary judgment; conduct research
                        re

           GR    A101   Further revisions to pretrial materials; revise draft Exhibit list       4.50      2,677.50
                        and witness list; email counsel for third-party re availability for    595.00/hr
                        live testimony at trial; revise contentions of fact and law;
                        prepare for MSJ hearing and settlement conference.

  9/11/2017 BM   A104   Review and analyze the parties' pre-trial filings, including             1.40    NO CHARGE
                        witness lists, trial exhibits and memoranda of contentions of          380.00/hr
                        fact; confer re same with W. Stevens; further review and
                        analyze of the parties' summary judgment filings
                                                                                .

           DK    A109   Attend hearing on defendants' motion for summary judgment;              12.50      4,187.50
                        attend settlement conference with G. Ruttenberg, J. Simon              335.00/hr
                        and M. Newburger; confer with same before settlement
                        conference; review and revise witness list, joint exhibit list
                        and memorandum of contentions of fact and law.
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                                                                                         Hrs/Rate      Amount

  9/11/2017 WS   A103   Assist G. Ruttenberg and D. Kadin with finalizing, filing and       5.50      1,072.50
                        serving Joint Exhibit List, Plaintiff's Witness List and          195.00/hr
                        Memorandum of Fact and Law.

           WS    A104   Assist D. Kadin with researching rulings by Judge Guilford re       1.50    NO CHARGE
                        Motions for Attorney's Fees.                                      195.00/hr

           GR    A109   Attend MSJ hearing; attend settlement conference with              12.00      7,140.00
                        Magistrate Judge Segal; prepare for same; confer with             595.00/hr
                        damages expert in preparation for deposition and
                        supplemental report; draft email correspondence to opposing
                        counsel re motions in limine; confer with opposing counsel (L.
                        Mei) re revisions to joint exhibit list; analyze and revise
                        witness list, exhibit lists, objections and other pretrial
                        materials; revise contentions of law and fact.

  9/12/2017 DK   A103   Review and revise settlement agreement and exhibits;                3.00      1,005.00
                        organize                                    ; telephone           335.00/hr
                        conference with S. Blum re settlement; telephone conference
                        with expert (D. Smith) re same; conduct research re

                             entry of final judgment and timeline for doing so.

           BM    A104   Telephone conference with G. Ruttenberg re summary of               0.60    NO CHARGE
                        settlement proceedings and plan to move forward; confer re        380.00/hr
                        same with D. Kadin and W. Stevens.

           WS    A103   Assist D. Kadin with drafting settlement documents; organize        3.20    NO CHARGE
                        trial preparation documents in light of settlement; begin         195.00/hr
                        drafting Motion for Attorney's Fees and other documents in
                        support of same.

           GR    A104   Further revisions and analysis of Settlement Agreement and          2.00      1,190.00
                        supplemental exhibits; confer with team member (D. Kadin)         595.00/hr
                        re same; analyze revisions to settlement documents in order
                        to implement parties' agreement; confer with opposing
                        counsel re same.

  9/13/2017 DK   A102   Conduct research re granting motion for attorneys' fees under       5.00    NO CHARGE
                        35 U.S.C. section 285,                                            335.00/hr




                                                .

  9/14/2017 DK   A102   Conduct research re finding of exceptional case                     3.80    NO CHARGE
                                                                                          335.00/hr


                                   review and revise Settlement Agreement and
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                                                                                               Hrs/Rate        Amount

                           Exhibits re clarifying changes made subsequent to 9/11/2017
                           mediation.

  9/14/2017 GR      A104   Further analysis and revisions to stipulated Judgment and              1.50         892.50
                           stipulated motion to stay; analyze issues relating to motion for     595.00/hr
                           fees after entry of judgment.

  9/15/2017 DK      A108   Telephone conference with A. Riley and G. Ruttenberg re                4.80        1,608.00
                           follow up on settlement agreement and exhibits and                   335.00/hr
                           proceedings moving forward; draft portions of motion for
                           attorneys' fees based on exceptional case; confer with G.
                           Ruttenberg re same.

           GR       A104   Various email exchanges and telephone conference with                  2.50        1,487.50
                           opposing counsel (A. Riley) re structure of stipulated               595.00/hr
                           judgment in light of preservation of fees and costs for the
                           Court; further revisions to settlement documents; analyze
                           motion to stay.

  9/18/2017 DK      A103   Draft and revise motion for attorneys' fees; conduct research          7.00        2,345.00
                           re same; review relevant documents for use in same.                  335.00/hr

           WS       A103   Finalize, file and serve Joint Stipulation to Stay in Light of         0.70         136.50
                           Settlement; distribute documents to clients and coordinate           195.00/hr
                           delivery of chambers copies.

           GR       A103   Confer with opposing counsel (L. Mei) re proposed edits to             0.50         297.50
                           joint stipulation staying litigation; make further edits to same;    595.00/hr
                           further analysis of settlement documents.


  9/19/2017 DK      A103   Draft and revise further portions of motion for attorneys' fees.       3.90        1,306.50
                                                                                                335.00/hr

           GR       A104   Analyze motion for attorney's fees, and confer with team               0.50         297.50
                           member (D. Kadin) re strategies for same.                            595.00/hr


  9/25/2017 GR      A106   Confer with client (J. Simon) re                                       0.40         238.00
                                                                                                595.00/hr



                For professional services rendered                                              179.00      $57,365.00
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             Additional Charges :

                                                                                                             Amount

   9/1/2017 Attorney Service Fee to Deliver Courtesy Copy of MSJ Opposition - US District Court in            62.50
            Santa Ana, CA (Invoice Dated August 21, 2017); Nationwide Legal, Invoice No. 157443

             Fee for Copy of 3/6/2017 Hearing (Discovery Hearing with Judge Guilford) Transcript to           14.40
             Court Reporter (Miriam Veliz Baird) (Ordered June 8, 2017); Santa Ana, CA

  9/11/2017 Transportation - Mileage and parking to attend Hearing on Defendants' MSJ at Ronald               28.68
            Reagan Federal Building & Courthouse; Santa Ana, CA - D. Kadin

             Transportation - Mileage and parking to attend Case Mediation with Judge Segal at Roybal         32.18
             Federal Building & Courthouse; Los Angeles, CA - D. Kadin & G. Ruttenberg

             Lunch for Case Mediation at Roybal Federal Building & Courthouse; Los Angeles, CA                14.80

             Transportation - Attend Hearing on Defendants' MSJ at Ronald Reagan Federal Building &           12.04
             Courthouse; Santa Ana, CA; G. Ruttenberg - Uber

  9/18/2017 Attorney Service Fee to Deliver Courtesy Copy of Settlement Joint Stipulation - US District       27.75
            Court in Santa Ana, CA; First Legal Network LLC, Invoice No. 10111227

  9/21/2017 Postage fee for mailing Payment for Delivery Services/Messengers (Invoice No. 156635) to            0.49
            Nationwide Legal, LLC; Los Angeles, CA

             Fee for Damages Expert Consulting Services in Los Angeles, CA; Flare, Inc., Invoice No. 2      2,310.00

  9/30/2017 Photocopies of case related documents - September 2017                                           100.80

             Online Research - September 2017; Westlaw                                                       578.06

                Total additional charges                                                                   $3,181.70


                Total amount of this bill                                                                 $60,546.70
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                                         #:4495


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Thank you for your Business.
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                                 Ruttenberg
                                        #:4496IP Law
                                               A Professional Corporation
                                           1801 Century Park East, Suite 1920
                                                Los Angeles, CA 90067
                                                   EIN #
                                                    (310) 627-2270

Invoice submitted to:
Drop Stop LLC
Jeffrey Simon, Co-President




November 17, 2017

Invoice #           10462
Firm Matter No.:    1128-100           Patent Infringment


            Professional Services

                                                                                             Hrs/Rate     Amount

 10/4/2017 DK      A106     Telephone conference with J. Simon, M. Newburger and G.             1.20       402.00
                            Ruttenberg re                                                     335.00/hr

                                        ; review defendants' edits to settlement
                            agreement and related documents; confer with G. Ruttenberg
                            re same; prepare redlines of defendants' edits to plaintiff's
                            accepted changes.

            GR     A104     Review revisions from Defendants to settlement documents,           0.80       476.00
                            and respond to same; communicate with clients re same.            595.00/hr

 10/5/2017 DK      A106     Prepare client copies of                                            0.20    NO CHARGE
                                                                                              335.00/hr



 10/6/2017 WS      A102     Assist G. Ruttenberg and D. Kadin with research re motion           2.30       448.50
                            for attorney's fees; r                                            195.00/hr


            DK     A104     Review edits to settlement documents and email                      0.30       100.50
                            correspondence with A. Riley re same.                             335.00/hr

            GR     A107     Confer with clients                                                 0.50       297.50
                                                  ; negotiate final language with opposing    595.00/hr
                            counsel.

10/10/2017 DK      A104     Review settlement agreement to confirm proper edits were            0.40    NO CHARGE
                            made; confirm wire transfer re settlement payment cleared;        335.00/hr
                            email correspondence with J. Simon and M. Newburger re
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                                                                                           Hrs/Rate      Amount

 10/11/2017 DK   A103   Draft and revise portions of motion for attorneys' fees; review       6.30    NO CHARGE
                        previous filings and documents in docket for use/reference in       335.00/hr
                        same.

 10/12/2017 DK   A103   Draft and revise motion for attorneys' fees; email                    6.00      2,010.00
                        correspondence with M. Newburger and J. Simon re                    335.00/hr




           BM    A104   Confer with D. Kadin re                                               0.20         76.00
                                                    attorneys' fees motion.                 380.00/hr

           GR    A104   Analyze motion for attorney's fees; confer with team member           1.00        595.00
                        (D. Kadin) re outline for same.                                     595.00/hr


 10/13/2017 DK   A102   Conduct research re                                                   1.80        603.00
                                                                                            335.00/hr
                                                                    ; email
                        correspondence with J. Simon and M. Newburger re
                                              email correspondence with A. Riley re
                        same.

           GR    A106   Confer with clients re                       ; confer with team       0.30        178.50
                        member (D. Kadin) re fees motion.                                   595.00/hr


 10/16/2017 DK   A103   Review                                                                2.00        670.00
                                                            review and revise motion for    335.00/hr
                        attorneys' fees re same; draft declaration in support of motion
                        for attorneys' fees; email correspondence with A. Riley re
                        joint stipulation re entry of final judgment.

           WS    A103   Assist G. Ruttenberg and D. Kadin with drafting and revising          0.30         58.50
                        Joint Stipulation re Final Judgment.                                195.00/hr

           WS    A102   Assist D. Kadin with researching various factual issues re            0.70        136.50
                        Motion for Attorney's Fees;                                         195.00/hr

                                 review local rules re same.

 10/17/2017 DK   A103   Review and revise motion for attorneys' fees; review, revise          5.10    NO CHARGE
                        and finalize stipulation and proposed order re entry of final       335.00/hr
                        judgment; confer with G. Ruttenberg re same; email
                        correspondence with A. Riley re stipulation.

           WS    A103   Assist G. Ruttenberg and D. Kadin with finalizing, filing and         0.50    NO CHARGE
                        serving Joint Stipulation re Final Judgment; coordinate             195.00/hr
                        delivery of chamber's copies re same.
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                                                                                           Hrs/Rate      Amount

 10/18/2017 DK   A103   Draft portion of motion for attorneys' fees re                        5.10      1,708.50
                                                                                            335.00/hr
                                                                     review
                        relevant documents and prior correspondence with opposing
                        counsel re same; review case law re same; email
                        correspondence with A. Riley re Drop Stop signature on
                        settlement agreement.

           GR    A106                                                                         0.50        297.50
                                                                                            595.00/hr


 10/19/2017 DK   A102                                                                         4.90      1,641.50
                                                                                            335.00/hr




                                           pts for motion to dismiss, for sanctions and
                        plaintiff's MSJ.

           WS    A103   Begin drafting transcript order form for transcripts to be filed      1.10        214.50
                        in support of Motion for Attorney's Fees; confer with court         195.00/hr
                        reporter re same.

           GR    A108                                                                         1.00        595.00
                                                                                            595.00/hr



 10/20/2017 DK   A102                                                                         4.80      1,608.00
                                                                                            335.00/hr




           WS    A102   Assist D. Kadin with factual research re Motion for Attorney's        1.40        273.00
                        Fees and                                                            195.00/hr
                                 re same.

           GR    A102   Analyze motion for attorney's fees, and provide comments re           2.50      1,487.50
                        same; research for same, issues relating to                         595.00/hr

                                            analyze Judge Guilford's Order re
                        stipulated judgment and case law cited therein; confer with
      Case 2:16-cv-07916-AG-SS Document 165-1 Filed 11/20/17 Page 95 of 97 Page ID
                                        #:4499


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                                                                                            Hrs/Rate      Amount

                        team member (D. Kadin) re same.


 10/23/2017 DK   A102   Conduct research re                                                    6.10      2,043.50
                                                                                             335.00/hr
                                       as part of exceptional case assessment;
                        telephone conference with G. Ruttenberg and A. Riley re A.
                        Guilford 10/20/2017 minute order on parties' stipulation for
                        entry of final judgment and steps moving forward; draft
                        revised stipulation re entry of final judgment; confer with G.
                        Ruttenberg re same.

           GR    A107   Confer with opposing counsel (A. Riley) re Judge's Order               0.80        476.00
                        seeking revised proposed Judgment; confer with team                  595.00/hr
                        member (D. Kadin) re same.

           WS    A102   Assist D. Kadin with factual research re Motion for Attorney's         1.10        214.50
                        Fees and                                                       .     195.00/hr

 10/24/2017 DK   A102   Conduct research re binding third parties to injunction and            5.20      1,742.00
                        those working in concert/participation with bound parties, and       335.00/hr
                        use of patent claim language in terms of injunction; review
                        cases cited by A. Riley in negotiating terms of joint stipulation
                        re entry of final judgment and proposed final judgment;
                        review and revise stipulation for entry of final judgment.

 10/25/2017 DK   A102   Conduct further research re including patent claim terms in            2.80        938.00
                        injunction; confer with W. Stevens re case law and                   335.00/hr
                        documents on same.

           WS    A102   Assist D. Kadin with factual research re injunctions and               1.20        234.00
                        relation to Judge Guilford's order re Final Judgment and             195.00/hr
                        download pleadings from similar litigations re same.

 10/26/2017 DK   A103   Review and revise (revised) stipulation for entry of final             1.00        335.00
                        judgment and proposed final judgment; review Defendants'             335.00/hr
                        edits re same; confer with G. Ruttenberg re same; email
                        correspondence with A. Riley re same.

           GR    A103   Edit revised joint stipulation for entry of judgment, and revised      1.50        892.50
                        proposed judgment; review Rule 65 and requirements for               595.00/hr
                        same; confer with clients re same, and with team member (D.
                        Kadin).


 10/27/2017 DK   A120   Telephone conference with J. Simon and M. Newburger re                 0.50        167.50
                                                                 ; email                     335.00/hr
                        correspondence with A. Riley re same; confer with G.
                        Ruttenberg re same.
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                                                                                                Hrs/Rate        Amount

 10/30/2017 DK      A103   Review Defendants' edits to revised joint stipulation and               0.40         134.00
                           proposed final judgment; make further minor edits to same;            335.00/hr
                           email correspondence with G. Ruttenberg re same; email
                           correspondence with A. Riley re same; confer with W.
                           Stevens re creation of redlines comparing Defendants' edits
                           to previous versions sent to Defendants.

             GR     A104   Review further edits from Defendants to draft Stipulated                0.80         476.00
                           judgment; correspond with Defendants' counsel re same;                595.00/hr
                           confer with team member D. Kadin re same.

 10/31/2017 WS      A103   Assist D. Kadin with finalizing, filing and serving Revised Joint       1.00         195.00
                           Stipulation and Proposed Final Judgment; distribute courtesy          195.00/hr
                           copies to chambers and clients.

             DK     A103   Review, revise and finalize revised joint stipulation for entry of      0.50         167.50
                           final judgment and proposed final judgment; email                     335.00/hr
                           correspondence with A. Riley re same; confer with W.
                           Stevens re finalizing same;




                For professional services rendered                                                74.10      $21,893.00

             Additional Charges :

  10/3/2017 Postage fee for mailing Payment for Damages Expert Services (Invoice No. 4423) to Alpine               0.49
            Engineering & Design, Inc.; Alpine, UT

             Postage fee for mailing Payment for Delivery Services/Messengers (Invoice No. 157443) to              0.49
             Nationwide Legal, LLC; Los Angeles, CA

 10/18/2017 Attorney Service Fee to Deliver Courtesy Copy of Final Judgment Joint Stipulation - US               27.75
            District Court in Santa Ana, CA; First Legal Network LLC, Invoice No. 10116301

 10/20/2017 Postage fee for mailing Payment for Damages Expert Services (Invoice No. 2) to Flare, Inc.;            0.49
            Porter Ranch, CA

 10/23/2017 Fee for Copy of Hearing Transcripts in Support of Motion for Attorney's Fees to Court               504.00
            Reporter (Miriam Veliz Baird); Santa Ana, CA

 10/31/2017 Photocopies of case related documents - October 2017                                                   2.30

             Court Fees to download case related documents - October 2017; Pacer                                 42.00

             Online Research - October 2017; Westlaw                                                            365.85

             Attorney Service Fee to Deliver Courtesy Copy of Proposed Final Judgment - US District              29.20
             Court in Santa Ana, CA; Nationwide Legal, Invoice No. 160208
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                                                                                 Amount
                Total additional charges                                        $972.57


                Total amount of this bill                                     $22,865.57
